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ANALYSIS OF A HYPOTHETICAL BARGE IMPACT

Because the plaintiffs in this case have alleged that the barge caused the IHNC
floodwall failure, it is fair to ask whether impact from a barge could have knocked the
wall down even if an impact were to have occurred prior to failure.

In order to carry out this analysis, it is necessary to carry out the following steps:

   1. Calculate the wind load exerted on the barge ING 4727.
   2. Calculate the velocity that the barge would attain if subjected to the previously
      determined wind load.
   3. Calculate the amount of energy that the moving barge would transfer to the
      floodwall.
   4. Calculate the effects that this amount of energy will have on the floodwall under
      different scenarios.
   5. Determine, for each of the scenarios considered, whether the wall would be
      expected to overturn as a result of the impact or something else will occur.

Step 1:

In order to determine wind loads on the barge, a time had to have been selected as
wind direction and velocity changed with the passage of time that morning. For the
purposes of this hypothetical analysis, the wind at 0800 (8:00 AM) was selected to be
analyzed because at this time the wind had some west-to-east component acting in the
direction of the floodwall and because the time needs to be before the levee failure was
reported by the National Weather Service at 0814 (8:14 AM) on 29 August. Even
though there is much evidence that supports the floodwall failed earlier when the wind
was blowing from the east toward the Lafarge dock, this analysis is intended to provide
a worst case scenario concerning the barge impacting the floodwall.

The wind velocity at 0800 was adjusted to account for altitude. This is necessary
because all wind speeds reported by anemometers or predicted by models are located
at an elevation of 10 meters (32.8 feet) above ground level. These values have to be
adjusted to the elevation of the barge’s centroid. Making this adjustment reduces the
wind velocity that is used in this hypothetical analysis.

The steps used to calculate the wind load on the barge are outlined in the appendices.
Three principal methods for calculating wind load were used. It is felt that that Hughes’
method, a method for calculating wind loads on vessels for a variety of different angles
of incidence, produces the most reliable results. A free floating barge acted on by wind
will tend to be rotated to an angle perpendicular to the wind direction. This is because
wind acting on the barge at an angle other than 90 degrees will produce a moment that
will turn the barge perpendicular to the wind, much the same way that a moment is




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induced on an airfoil with an angle of attack. The wind acting on the barge at a 90
degree angle also exerts the maximum amount of force on the barge.

The results of these calculations show that for a sustained wind speed of 58.51 knots
(67.37 mph), the maximum wind load on the barge would have been 35,932 pounds
when the wind acts directly on the side of the barge.

Step 2:

Appendix E uses the wind load determined for 0800 (8:00 AM) and calculates the
velocity of the barge under these wind conditions. These calculations take into account
all phenomena that would affect drag on the barge and concludes that the winds at
0800 (8:00 AM) on 29 August 2005 on the Inner Harbor Navigation Canal would have
imparted a velocity of 7.73 feet per second or 4.57 knots (5.27 mph) on the barge,
moving sideways.

Importantly for this analysis, this calculated velocity is the maximum that the barge
could have achieved in the direction of the IHNC floodwall at any time up to and
including 0800 (8:00 AM) on 29 August 2005. Therefore, a barge strike at 0800
represents the worst possible scenario with respect to the potential for damage to the
floodwall. Any time appreciably earlier will not have a wind direction that is capable of
carrying the barge toward the Lower Ninth Ward floodwall on the east side of the IHNC.

Based on this calculated speed, it is possible to theoretically analyze the impact of a
barge with an intact floodwall.

Step 3:

To analyze a theoretical barge strike on the floodwall along the IHNC, several
assumptions have to be made. One assumption is that the barge’s corner will contact
the floodwall. This is a worst case scenario because of the concentrated loading.73 A
special case was analyzed that assumed a line drawn perpendicular to the floodwall at
the point where the barge’s corner made contact with the wall will pass directly through
the barge’s center of gravity. Under this assumption, 100% of the barge’s energy will be
transferred to the floodwall in a single impact, rather than one corner glancing off the
floodwall followed by the other corner, which will distribute the barge’s energy between
the two impact locations. This assumption of 100% of energy being transferred in a
single impact is extremely improbable and was chosen to analyze the maximum
possible energy impact and test the maximum effect that a hypothetical impact could
have had. In all likelihood, about half of the barge’s total kinetic energy will be

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   The IPET Report (Volume V, Appendix 17) analyzed a hypothetical barge impact using different assumptions.
IPET acknowledged, however, that the assumptions used in the report did not reflect conditions as they existed in
Hurricane Katrina and the report did not analyze whether the barge could have or did cause the breaches under the
conditions present during the storm.




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transferred to the floodwall in a single impact, and as such this more realistic scenario
will have a substantially less severe consequence to the floodwall.




Figure 108: Single, more severe but highly unrealistic impact (left) compared with a
more probable but less severe case where the energy of the moving barge is
transmitted to the floodwall in two impacts.

Acting under the influence of the winds occurring at 0800 (8:00 AM), the barge will
attain the previously mentioned velocity of 7.73 feet per second. If the barge traveled
the same direction as the wind at this time, it would have a course of 355°. Because the
Inner Harbor Navigation Canal is oriented 15° east of north, this means the barge will be
traveling on a path 10° oblique to the wall. As such, it will only be traveling at a relative
velocity of 1.342 feet per second in the direction of the wall. The remaining velocity is
directed parallel to the wall, given the wind direction at this time. This produces an
energy of 15,660 lb-ft that the floodwall will have to absorb in order to stop the barge.

Step 4:

For the purposes of this analysis, it is assumed that all deflection of the floodwall in the
landward direction due to the strike will be due to the elasticity of the soil and that the
floodwall itself will remain perfectly rigid. A further assumption is that the top of the
concrete floodwall panel will not crack as a result of the impact loading – that is, it
assumes the entire panel would remain rigid rather than cracking at the joint between
the sheetpile and the cap. (The validity of this last assumption is discussed below; as it
turns out, the concrete cap will crack off before the sheetpile fails).




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The calculations of the floodwall impact are outlined in Appendix F. In summary, a
barge striking the top of the concrete panel, as it would have to have done considering
the water level in the canal, would tend to cause the floodwall to rotate in the landward
direction about a point somewhere below the surface of the ground. Thus the top of the
wall would move in the landward direction and the bottom of the sheetpiling that would
move in the direction of the canal. The energy contained in the moving barge would
have to be compared with the work required to compress the soil of the levee
embankment.

As explained in Appendix F, the amount of energy absorbed by the wall depends on
where the barge strikes in relation to the concrete panels comprising the floodwall. The
floodwall consists of individually poured 30 foot long concrete panels poured on top of
the sheetpiling. There is no rebar continuous between these panels and a small gap of
around one inch exists between the panels. This gap contained a rubber water stop
embedded in the two adjacent panels which contributed negligible strength to the
floodwall system.

For the purposes of this analysis, three different scenarios were considered for impact.
The first assumes that the corner of the barge strikes directly in the center of a concrete
panel, causing the panel to be pushed backwards, which in turn drags the two adjacent
panels along with it. The second scenario is that the corner of the barge strikes the joint
between two floodwall panels, causing the ends of those two floodwall panels to be
pushed inland. The third scenario is that the barge corner strikes the center of a
floodwall panel and cracks the panel in half, producing a pattern of deformation similar
to the second scenario except the impact is distributed over half of the distance.

The following two tables list the expected floodwall deformations and impact forces
associated with the three scenarios. Passive failure (i.e. soil shearing) would occur only
after a deflection of 15.201 inches is experienced. Refer to Appendix F to review how
these figures were obtained.

                      Collision Scenario:    Expected Deflection, in
                               1                     3.64
                               2                     5.76
                               3                     8.15

Table 4: Expected deflections of floodwall for different hypothetical collision scenarios.

Step 5:

The values shown in table 4 are the net distances that the crest of the floodwall will
deflect inland as the result of a hypothetical pre-failure barge impact. These values do
not include any displacement that would have been present from hydrostatic pressure
acting on the wall. As explained in Appendix F, hydrostatic pressure could have



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imparted a deflection of 8.4 inches on the floodwall. When combined with the loading
due to hydrostatic pressure, collision scenario 3 could cause a portion of the levee
embankment to exceed the displacement associated with passive failure, if the force
acted on a part of the wall that was strong enough to resist the loads generated by the
impact. While a passive failure is a necessary step in order for an impacting projectile
to overturn a floodwall because the soil mass behind the floodwall must be broken up
before the sheetpiling can be pulled out of the ground by a lateral force, a passive
failure does not by any means indicate that an overturning failure will take place. On
the contrary, in the case of collision scenario 3, the soil embankment is pushed about
1.3 inches beyond the passive failure point. In order to initiate overturning, it would be
necessary to push the wall much further beyond the passive failure point. Something
on the order of 10 feet beyond the passive failure point would be necessary for
overturning to become a possibility. What this would mean is that if collision scenario 3
had occurred, a small portion of the embankment would be pushed permanently in the
landward direction and the wall would take on a permanent lean of about an inch at this
location.

Another way to test the hypothesis as to whether the barge could have caused the
floodwall failure is to ask whether impact from a barge would cause the concrete cap to
crack at the top rather than pulling the sheetpile out of the ground as occurred.

    Collision Scenario:        Maximum Expected Force           Maximum Expected
                                        (lb)                      Moment (k-ft)
              1                       103,290                        542.3
              2                        65,240                        188.3
              3                        46,100                         66.6
Note: k = kilopound (kip) = 1000 lb.

Table 5: Expected force and floodwall moments created by impact loading.

With the maximum expected moments known, it can be determined whether or not a
panel might crack. This is done by comparing the maximum expected moments for
each scenario with the flexural strength of the reinforced concrete wall panels.

The purpose of evaluating the floodwall panel for longitudinal bending strength is to
evaluate whether Scenario 1 or Scenario 3 is more realistic, that is, would the concrete
panel be expected to crack in a vertical plane if impacted. Summarizing the calculations
in Appendix F, it is shown that the floodwall panel has a bending strength of about 205
k-ft. This shows that Scenario 1 is not realistic because it requires the panel accept a
bending moment about three times greater than its calculated capacity. Therefore, if
the barge struck the floodwall and the rest of the assumptions held true, the deformation
would be expected to be between 6 and 8.5 inches in the landward direction and the
impact force 46,000 to 65,000 pounds.




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With these forces known, it is necessary to test the assumption that the top of the
floodwall above the sheetpiling will not crack off. This is accomplished in the bending
analysis in Appendix F. This analysis calculates the bending strength in the vertical
direction of a 9-inch long segment of wall containing one piece of rebar on each face.
The result of this analysis shows that in order for the floodwall panel not to crack off
above the sheetpiling, the impact would have to spread evenly over a 6’-5” long
segment of wall. This distribution of loading would not be possible if the corner of the
barge struck the wall as that scenario would concentrate the impact force in a very small
area, on the order of a few inches.

Therefore if a barge were to strike the concrete cap, it would fracture the concrete in
one of a number of ways – e.g., by cracking the cap at the construction joint, or by
punching a notch in the cap – but would not cause (and could not cause) the sheetpile
to dislodge in the manner that occurred. This manner of damage is seen at the south
end of the south breach as well as at locations where other barges struck floodwalls.

A barge striking the concrete cap of the floodwall could not cause the sheetpile to fail.
The concrete panel would crack or notch, leaving the sheetpile intact. This is analogous
to trying to push a table across the floor by applying a force to a book that is laying on
the table. No matter how much force is applied to the book, the table will not move; the
book will simply slide across the surface of the table. No projectile, regardless of the
amount of energy it contained, could cause the sheetpiling to be removed from the
earthen embankment, just as no force could slide the table across the floor by pushing
on the book.

A hypothetical barge impact would not, therefore, have caused the IHNC floodwall
failure during Hurricane Katrina, even if such an impact had occurred prior to the failure.
For independent reasons discussed above, such an impact did not occur prior to the
failure. Nevertheless, the calculations presented in this section provide separate
confirmation that impact from a barge, in the conditions of Hurricane Katrina, could not
have caused the IHNC floodwall failures.




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CALCULATION OF PITCHING MOTION OF BARGE ING 4727

Mr. Pazos makes the claim that the barge in the IHNC was pitching to the extent that
the barge’s bow was lifted out of the water and landed on top of the floodwall. He
further claims that the waves were 8 to 10 feet high, and that the draft of the barge was
2 feet 4 inches. He is wrong on three counts. First, the draft of the empty barge was 1
foot 4 inches. Second, it was impossible for the waves to be 8 to 10 feet high. This is a
gross exaggeration. Third, the following calculation shows that the pitching motion of
the barge would not be anywhere near enough to achieve Mr. Pazos’ unbelievable
assertion.

The pitching motions have been calculated for two conditions. First, for the barge in its
correct draft of 1”-4” (1.33 feet) and in 2’-0” high waves. Second, the pitching motion
was calculated for Mr. Pazos’ allegations, i.e. a draft of 2’-4” (2.33 feet) and 10 foot
waves.

The method used is R. Bhattacharyya. The results are:


                      Wave Height    Pitch Angle   Vertical Bow Motion
                          ft           degree         ft         in
                            2           -0.087      0.152      1.822
                            4           -0.174      0.304      3.644
                            6           -0.261      0.455      5.465
                            8           -0.348      0.607      7.287
                           10           -0.435      0.759      9.109

Table 6: Pitching motions of ING 4727 at a 1.33 foot draft.


                      Wave Height    Pitch Angle   Vertical Bow Motion
                          ft           degree        ft          in
                            2           -0.153     0.266      3.196
                            4           -0.305     0.533      6.391
                            6           -0.458     0.799       9.587
                            8           -0.611     1.065      12.783
                           10           -0.763     1.332      15.979

Table 7: Pitching motions of ING 4727 at a 2.33 foot draft.

The maximum vertical motion is slightly more than one foot. Under the most favorable
assumptions to Mr. Pazos’ theory, the actual pitching motion would be insufficient to lift
the barge and place it on top of the floodwall. .




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REASONS THE BARGE DID NOT BREACH THE FLOODWALL

Certain plaintiffs have alleged that the barge ING 4727 caused one or both of the
breaches in the IHNC floodwall. Our analysis concludes that it is simply not possible
that barge ING 4727 caused either breach.

This report has explained in detail the various reasons why the barge could not have
and did not cause the breaches. These conclusions are supported by the data in this
report and appendices, and are corroborated by the works of others including Dooley
SeaWeather Analysis, Waterway Simulation Technology, IPET, ILIT, LSU, ASCE and
others.

For purposes of summary, the reasons the barge did not breach the IHNC levee are:

    1. Neither the wind nor the current flowed towards the north breach on the
       morning of 29 August 2005. At all times prior to the north breach, the wind was
       blowing from east to west and could not have moved the barge away from the
       Lafarge Terminal across the canal and to the north to the site of the breach.
       The same is true of the water current – it could not have brought the barge to
       the site of the breach. It is impossible for the winds in Hurricane Katrina to have
       moved the barge north before moving it south. Winds at the IHNC did not blow
       to the north until after the storm had passed New Orleans.




Figure 109: The wind direction on the morning of 29 August, 2005. The wind could not
have carried the barge to the North Breach at any time shown here.




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    2. The barge could not have moved from the Lafarge Terminal to cause the south
       breach because the wind was blowing from the east or had an easterly
       component until after the wall was already down at that location.




Figure 110: The wind direction on the morning of 29 August, 2005. The wind could not
have carried the barge to the South Breach until 0900 (9:00 AM) or later.




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    3. The water currents in the IHNC were not flowing in the direction of the south
       breach prior to its occurrence.




Figure 111: Currents in the IHNC before breaching occurs. Note that the currents are
very nearly zero (turquoise).

    4. There was no wave action in the IHNC that could have moved the barge across
       the canal from its slip at the Lafarge Terminal before the floodwall failed.




Figure 112: The small amplitude waves present in the IHNC during Katrina. They are
moving in the same direction as the wind.



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    5. The Namasco Terminal gantry shed would have trapped the barge at the
       southern wharf area if the barge had been loose and moved by the prevailing
       winds before 0900 (9:00 AM). Also the fiberglass hatch covers of the barge, the
       barge itself or the gantry shed would have shown damage if the barge had
       transited prior to that time. No such damage was observed, further confirming
       the barge did not exit the slip prior to 0900 (9:00 AM) under the prevailing wind
       and water conditions.




Figure 113: The wind directions at given times superimposed over an aerial photo
showing the Lafarge Terminal and Namasco Gantry.

    6. The south breach was sudden and catastrophic, carrying the sheetpiling
       hundreds of feet inland. The deluge obliterated houses in the North Johnson
       St. area of the Lower Ninth Ward. If the barge had caused the breach, it would
       have immediately been drawn into and propelled in an easterly direction, deep
       into the Lower Ninth Ward. There is no evidence on the barge nor in the debris
       field that this happened. If it had happened, the results would have been
       readily apparent.




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Figure 114: The barge was located immediately adjacent to the floodwall after Katrina,
not far inland.

    7. If the barge had entered the Lower Ninth Ward toward the northern end of the
       southern breach, or within the center of the breached area, it would have
       lodged itself several blocks due east of Jourdan Ave. in the vicinity of N.
       Johnson St. which it did not.




Figure 115: The direction that the barge would have taken had it been present at the
time the breach occurred.




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    8. The position and orientation of the barge as it came to rest near N. Roman St.,
       nestled against two homes to the east of the barge, demonstrates that it must
       have approached from the direction of the canal. Thus, the barge cannot have
       entered the neighborhood at N. Johnson St., and then drifted back toward the
       canal when the Lower Ninth Ward drained. The arrival of the barge in its final
       position could only have happened late in the flooding phase and not during the
       draining phase.




Figure 116: The barge in its post-Katrina resting place. The homes and trees would
have prevented the barge from floating from the right side of this photo to its position on
the left side of the photo, which is nearer to the canal.

    9. The presence, location and condition of trees, telephone pole and wires
       indicates the barge reached its grounding spot during the flood and not during
       the draining of the water from the Lower Ninth Ward.




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Figure 117: Obstructions such as houses and trees existed on the landward side (left
side in this photo) of the barge, which would have prevented the barge from reaching its
position by floating toward the canal when water was draining from the 9th Ward.

    10. The barge impact on the house at 1739 Jourdan Ave. indicates that it did so
        during very low flow into the protected side of the floodwall, meaning that the
        barge entered the Lower Ninth Ward late in the flooding period and not when
        the levee first breached.




Figure 118: The barge adjacent to a semi-standing house (1739 Jourdan Ave.), which
indicated the barge did not impact the house very hard.



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    11. The velocity and direction of the wind at 0800 (8:00 AM), and at any time before
        0800 (8:00 AM), was not sufficient to impart enough energy to the barge to
        cause the floodwall to fail.

    12. The barge could not strike the sheetpiling with sufficient energy to cause
        overturning. In any event, the concrete cap on top of the wall would have
        cracked before the barge could have affected the anchoring of the sheetpile.

    13. The damage to the concrete cap and exposed reinforcing bar provide evidence
        that the barge entered the Lower Ninth Ward at the south end of the south
        breach, well away from the location where the breach initiated.




Figure 119: The localized damage to the floodwall, proving that the concrete will crack
before the sheetpiling is torn from the embankment.

    14. The scratch marks on the bottom of the barge match the exposed rebar at the
        lower (southern) end of the south breach, proving that the barge did not enter
        the Lower Ninth Ward at the upper (northern) end of the south breach, where
        the initial failure occurred.

    15. The scratch marks on the barge indicate that the barge floated into the Lower
        Ninth Ward when it was already flooded, well after the initial failure of the south
        breach.




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Figure 120: The scratch marks on the barge indicate that 2/3 of the barge must have
floated across the failed floodwall before the barge contacted the floodwall at the south
end of the breach.

    16. The concrete cap and rebar at the lower (southern) end of the south breach in
        the already failed levee had to be sitting at an angle (i.e. already failed) before
        the passing barge came into contact with them.




Figure 121: The position of the floodwall at the south end of the south breach compared
with its orientation before being struck, showing the end closer to the photographer was
originally at a lower elevation.



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 17. There is no damage to the barge or the floodwall consistent with the barge
     causing the failure of the floodwall.

 18. The fact that barge impacts do not equate with levee failures is demonstrated
     by the many other locations where barges came into contact with floodwalls and
     did not cause them to fail. The damage seen at those locations is similar to the
     concrete cap damage found at the localized area near the very end of the
     southern breach, which had nothing to do with the failure of the wall.




 Figure 122: Damage resulting from the impact of a barge with a floodwall near the
 Bayou Bienvenue Control Structure. Despite the cracked concrete (similar to the
 local damage at the IHNC south breach), the floodwall did not fail.

 19. The floodwalls failed at the IHNC, as they failed at other locations, for reasons
     having nothing to do with a barge. The floodwall along the east bank of the
     IHNC was poorly designed and improperly maintained. No barge impact was
     needed for the floodwall to fail. For these reasons and not because of the
     barge, the floodwall failed.




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 20. After exhaustive analysis, neither IPET, ILIT, ASCE nor the LSU studies
     concluded that the barge played a role in the failure of the levee. No experts,
     apart from paid experts hired by the plaintiffs in this case, have concluded that
     the barge played a causative role in the IHNC floodwall failure.




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The undersigned reserves the right to amend this report in the event that new
information is made available.




  29 Julv. 2009                      ø*ePh
      Date                               Charles R. Cushing, Ph.D., P.E.
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                             Appendix A

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                             Appendix B

            Waterway Simulation Technology Report
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   WATER FLOW AND WIND CONDITIONS
   AFFECTING MOVEMENT OF ING 4727
      BARGE IN THE IHNC DURING
        HURRICANE KATRINA ON
           AUGUST 29, 2005

                              July 25, 2009

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INTRODUCTION

This report addresses:

       •     What were the water currents in the IHNC prior to either breach in the levee or after
             the northern breach in the levee occurred? Could the barge, if it had come
             unmoored prior to the breaches in the eastern flood wall, have been drawn by these
             currents to the vicinity of the northern levee/flood wall breach and possibly have
             contributed to that flood wall failure? Similarly, could the barge have been drawn
             to the east IHNC flood wall by these currents if it broke free of its moorings either
             during or after the northern levee/floodwall failed?

       •     Under what conditions would the ING 4727 barge have been able to move from the
             mooring site to the east IHNC flood wall and the vicinity of the southern
             levee/flood wall breach?

The currents in the IHNC prior to the occurrence of either breach, and after the occurrence of
the north breach but before the south breach, would not have moved the barge away from the
dock even if it had broken free of its moorings prior to the occurrence of the IHNC breaches.

To better understand the basis of this analysis, some background information about the storm,
the hurricane protection system of the New Orleans metropolitan area, and the conditions that
have been documented to have occurred during the storm in the IHNC between the Florida
Avenue Bridge and the IHNC Lock will be described next.


The Hurricane Protection System

The hurricane protection system for the New Orleans area is shown in Figure 1. This flood
control system consists of a series of three enclosed areas (or polders). One encloses the City
of New Orleans, Metairie, and Kenner to the west of the Inner Harbor Navigation Canal
(IHNC) or, as it is sometimes called, the Industrial Canal. This area consists of a strip of land
between the Mississippi River and Lake Pontchartrain. A second set of levees to the east
encloses the area known as New Orleans East, which is between the IHNC, the Gulf
Intracoastal Waterway (GIWW), Lake Pontchartrain, and Lake Borgne. The third protected
area is east and south of the other two areas, respectively, and encloses St. Bernard Parish and
includes an areas or cities identified as Arabi, Chalmette, Violet, Poydras, Verret, and
Caernarvon. This third polder is between the Mississippi River, the IHNC, the GIWW, the
Mississippi River-Gulf Outlet (MRGO) and Lake Borgne. The eastern half of this area is
wetlands and is unpopulated. The levees identified in Figure 1 are of varying heights and
designs and connect to the flood control levees along the Mississippi River to complete the
enclosures. The IHNC Lock is a navigation lock structure that closes off the hydraulic



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connection between the Mississippi River and the IHNC and Lake Pontchartrain. No other
flood control gate structures are included in the hurricane protection project.




                    Figure 1. New Orleans Hurricane Protection System1


The Storm Surge in the IHNC

To gain a better appreciation of what happened to the water level within the IHNC it is helpful
to look at the hydraulics of the water system feeding the IHNC. The channels through which
water flows in this area are interconnected with the Gulf of Mexico, Lake Borgne, and Lake
Pontchartrain. There are a multiple channels in this system, including the MRGO, GIWW,
IHNC and Chef Mentuer and Rigolets. These channels and their relationship with the larger
bodies of water are shown on the MRGO project map shown in Figure 2. The south end of the
IHNC is closed to the Mississippi River by the IHNC Lock which is normally closed and
requires tows to lock from the river to the canal level. This lock was closed and all openings
were closed with water tight seals before and during the hurricane. Thus, any water entering

1
    U.S. Army Engineers, New Orleans District Project Maps Book — Flood Control Projects 2-35A Files.

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the section of the IHNC below the Florida Avenue Bridge must come from Lake Pontchartrain
entering the IHNC northern section or from the Gulf of Mexico and Lake Borgne through the
GIWW-MRGO channel. The MRGO is a 66 mile long 36-ft deep-draft navigation channel
that is 600 ft wide at the entrance in the Gulf of Mexico narrowing down to a 500-ft width after
the first 9.38 miles and entrance into Breton Sound all the way to the intersection of the IHNC.




Figure 2. Mississippi River-Gulf Outlet and Other Channels Connecting with the Inner
Harbor Navigation Channel


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Hurricane Katrina tracked directly over the lower Mississippi River and across Lake Borgne.
In the process the storm’s reduced pressure and wind fields pushed the water from the Gulf of
Mexico into Lake Borgne and up the MRGO. At this stage, water flowed into Lake
Pontchartrain through Chef Mentuer and The Rigolets. An illustration of this occurring is
shown in Figure 3 indicating the storm surge at the time of peak heights at the convergence of
the levees on the south side of New Orleans East and the east side of St. Bernard Parish. The
arrows in this figure indicate the wind direction and strength and the colors indicate the water
elevations according to the scale in the upper left hand corner of the figure. At this time the
wind moving in a counterclockwise direction had pushed the water up against these levees and
focused it into the so-called “funnel” formed by the these levees and the intersection of the
GIWW and MRGO. This figure is a result of a numerical model study performed by the
Interagency Performance Evaluation Task Force (IPET) using an ADCIRC model that has
been used in many studies of this area and was refined for the analysis of the performance of
the New Orleans hurricane protection system. Figure 4 shows details of the MRGO-GIWW-
IHNC.



                                                         “Funnel”
              IHNC




    Figure 3. Map of Calculated Storm Surge Levels with Boundary Layer Adjusted Wind
     Velocity Vectors during Hurricane Katrina on August 29, 2005, at 1300UTC or 0700
                                          CDT2.

2
      J. Westerink, et. al., Note on the Influence of the Mississippi River Gulf Coast Outlet on Hurricane Induced
      Storm Surge in New Orleans and Vicinity, IPET Report 2, Appendix 6, p IV-6-15, March 26, 2007.

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      Figure 4. Peak Water Levels Computed by the U.S. Army Corp of Engineers 3

Similar models have been used by the Louisiana State University (LSU) Hurricane Center.
Results are shown in Figures 5 and 6. Both models show water levels that include the normal
astronomical tide and the storm effects but do not include potential localized variations. The
reference datum in Figure 3 is NGVD 29 and the datum in Figure 5 is Mean Sea Level (MSL).

Both models show a high head difference, i.e., a water level difference, along the combined
MRGO-GIWW channel due to the convergence of the levees along the south side of New
Orleans East and the east side of St. Bernard Parish and the restriction of the channel between
the levees on the south side of New Orleans East and the north side of St. Bernard Parish. The
water elevation at the east end of the combined MRGO-GIWW channel is 17-18 ft in Figure 5
and 15.5-16 ft in Figure 4; while at the west end of that channel is 15 ft in Figure 5 and 14.5 ft
in Figure 4. At the south end of the IHNC the water level is 15.5 ft in Figure 5 and about 14 ft
in Figure 4. This head difference caused a flow along the channel as shown in Figure 6. Note
the low velocity in the southern part of the IHNC between the intersection of the MRGO-
GIWW and the IHNC Lock.




3
    Performance Evaluation of the New Orleans and Southeast Louisiana Hurricane Protection System, Final
    Report of the Interagency Performance Evaluation Task Force (IPET), Volume IV – The Storm, March 26,
    2007, Page IV-113.

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Figure 5. Modeled Water Levels Generated by Hurricane Katrina as Modeled by LSU4.




    Figure 6. Modeled Water Velocities Generated by Hurricane Katrina as Modeled
                                       by LSU5.

4
     http://hurricane.lsu.edu/floodprediction/

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Water Levels in the IHNC

In order to analyze flow of water in the IHNC, it is necessary to determine the water levels that
were reached in the waterway. To the extent that there is some uncertainty regarding these
water levels over time, consideration of the range of possible water levels at any given time
can be used to sort the possible flows of water that may have occurred and from the flows of
water that would not have occurred under any of the possible conditions.

Recorded Surface Water Levels.

The first task is to determine what the water levels were in the IHNC during the storm. While
there are a number of water level gages in the vicinity of this waterway, many failed due to
flooding, physical damage, or loss of electrical power. The gages for which recorded data
were obtained are shown in Figure 7.




                   Figure 7. Water Level Gages in the Vicinity of IHNC

All of the continuously recording gages were lost by 0100 CDT on August 29, 2005, except for
the Mississippi River gage at Carrollton and two U.S. Geological Survey (USGS) gages, one of
them in the IHNC near the I-10 Bridge and the other at I-510 crossing the MRGO-GIWW. In
addition to the recording gages, the gages at the IHNC Lock are recorded at 0800 each day and
posted for navigation interests. During the storm the INHC Lockmaster took the extraordinary
initiative to establish a temporary gage on the canal side of the lock so that the staff could
record the water level during the storm. Recognizing that this record could be the only source


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of critical data defining the storm surge; the lock staff recorded the gage readings each hour
throughout the most critical portion of the storm. This record did indeed provide the most
complete information of the water levels during the storm surge and is shown in Table 1. This
temporary gage was not surveyed until after the storm and was initially referenced to the
NGVD 29 datum. During the surveys for this report, this gage was surveyed and referenced to
the NAVD 88 datum which will be used as a standard datum for this report. As noted in this
table, the high water level in the IHNC was 14.2 ft NAVD 88 at 0900 on August 29, 2005.
The IPET also reported the same high water level adjusted to NAVD88.5

The water levels recorded at the IHNC Lock along with the gage data from other stations are
shown in Figure 8. This plot is referenced to NAVD88 datum adjusted for subsidence based
on rates obtained from LSU (this issue will be addressed in more detail later in this report).
The USGS gage at the crossing of I-10 over the IHNC shows a similar pattern to that recorded
at the IHNC Lock until 0400 on August 29, 2005; at which time something appears to have
happened - to the water level or the gage - to cause the recorded water level to shift down. The
IPET investigation6 found that the PVC pipe holding the USGS gauge has a top elevation of
about 9 ft on the staff gage and the electronic cable holding the USGS pressure transducer
inside the PVC pipe is exposed above the top of the pipe. They speculated that one possible
explanation of the 5-ft drop then could be that the high velocities through the railroad/I-10
bridge opening in the floodwall which did breach, along with debris snagged the cable and
pulled the transducer up out of the pipe giving it an apparent drop in water level. The IPET
Team also found that the Orleans Levee District gage which is located nearby the USGS gage
did not experience the drop in water level but did experience identical 7.8 ft readings at 0400,
0500 and 0540 that morning, followed by a rapid rise in 8 minutes to about 10.9 ft which
agrees with the IHNC Lock readings. This pattern of constant readings with a rapid rise is
consistent with a float gage becoming stuck and then releasing to float again. Both gages
behaved badly past 0400 and are considered to be questionable and not useful for determining
water levels.




5
    Interagency Performance Evaluation Task Force (IPET), “Performance Evaluation Status and Interim
    Results, Final Report of a Series: Performance Evaluation of the New Orleans and Southeast Louisiana
    Hurricane Protection System,” U.S. Army Corps of Engineers, March 26, 2007, p. IV-34.
6
    Interagency Performance Evaluation Task Force (IPET), “The Storm,” Volume IV, U.S. Army Corps of
    Engineers, Final Draft, March 26,2007, Figure 14, IV-33.

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                                16.0
                                15.0
                                14.0        IHNC Lock Canal Gage
                                13.0        USCG Bldg 12 HWM
                                            Fla Ave Brdg HWM
                                12.0
                                            Lafarge HWM
                                11.0        USGS IHNC@I-10
    Gage Reading (ft NAVD88)




                                            USGS IWW@I-510
                                10.0
                                 9.0
                                 8.0
                                 7.0
                                 6.0
                                 5.0
                                 4.0
                                 3.0
                                 2.0
                                 1.0
                                 0.0
                                        0:00
                                        1:00
                                        2:00
                                        3:00
                                        4:00
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                                       21:00
                                       22:00
                                       23:00
                                          8/28/05                        Time                            8/29/05




                               Figure 8. Recorded Water Levels in the IHNC During Hurricane Katrina.


A water level hydrograph was obtained from the LSU Hurricane Center’s web site for the
IHNC. These are the result of the modeling discussed earlier in this report. This hydrograph is
shown in Figure 9.7 These data are referenced to the Mean Sea Level (MSL) tidal datum
which would have to be adjusted to NAVD 88 by adding 0.25 ft.8 These results show that the
peak water level of about 15 ft occurred at 0830 on August 29, 2005, in the IHNC.




7
                     http://hurricane.lsu.edu/floodprediction/
8
                     Interagency Performance Evaluation Task Force (IPET), “Performance Evaluation Status and Interim
                     Results, Final Report of a Series: Performance Evaluation of the New Orleans and Southeast Louisiana
                     Hurricane Protection System,” U.S. Army Corps of Engineers, March 26, 2007, Figure 13, p. II-48.

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Figure 9. Water Levels in the IHNC and Lake Pontchartrain at the 17th Canal Modeled
                                     by LSU.7

High Water Marks

Another way of determining how high the water got during the storm is to identify and
measure high water marks. It is best to use high water marks that are protected from wave
action to eliminate false readings. High water marks were identified and measured on October
13 and 29, 2005, at three locations inside buildings that dampened wave action and provided
good measures of the high water levels. These were in the US Coast Guard Building 12 near
the IHNC Lock (13.7 ft), a work shed at Lafarge Cement Terminal (14.0 ft) and in the Florida
Avenue Bridge Control Structure (13.7 ft). These elevations are referenced to the subsidence-
adjusted NAVD88 datum and are plotted in Figure 8. The locations of these high water marks
are shown in Figure 10. These marks were distinct and the elevations of these marks were
determined using normal level surveying techniques.

IPET9 also reported a finding of high water marks along this section of the IHNC of 13.5 to
14.0 NAVD88. In addition, they reported high water marks just to the south of the junction of
the IHNC and the Mississippi River Gulf Outlet (MRGO), of 15.4 NAVD88. IPET10 reported
that a high water mark of 15.2 ft NAVD88 was found immediately north of the Florida Avenue

9
     Performance Evaluation of the New Orleans and Southwest Louisiana Hurricane Protection System, Final
     Report of the Interagency Performance Evaluation Task Force (IPET), Volume IV – The Storm, March
     26,2007, p. IV-32-38.
10
     Interagency Performance Evaluation Task Force (IPET), “The Storm,” Volume IV, U.S. Army Corps of
     Engineers, Draft, March 26,2007, Figure 16, p. IV-36.

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Bridge. This means that just north of the Florida Avenue Bridge the water reached 1.3 to 1.6 ft
higher than in the waterway between the Florida Avenue Bridge and the IHNC Lock.

All the high water marks (HWM) that are considered of excellent quality along the IHNC and
the MRGO/GIWW were plotted. Using this plot and these data and determining distances
along the waterways, two profiles were developed. One was from the MRGO just before the
intersection with the GIWW to the IHNC Lock, Figure 11. And the other is a profile along the
IHNC from the north end of the IHNC Lock to Lake Pontchartrain, Figure 12.




         Figure 10. Locations of the Three High Water Marks along the IHNC.

A moving average line was fit to the data points in Figures 11 and 12. It can be seen from this
profile that the water was pushed up at the end of the common MRGO/GIWW channel
between the levees until it was about 18 ft. The water was relatively flat from just inside the
intersection of the GIWW and the MRGO to the intersection of the MRGO/GIWW with the
INHC with a height of 15.4 ft at the end. At that point there is a fall in the water surface
between the


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    Figure 11. High Water Mark (HWM) Profile from the MRGO to the IHNC Lock.
             18


             16



               14
         )
         8
         8
         D
         V
         A 12                      IHNC South of Florida Ave Bridge to IHNC Lock
         N
         ft(                       IHNC North of MRGO/GIWW Intersection
           n
           io
            t 10                   IHNC South of MRGO/GIWW Intersection
            a
            v
            le                     Linear (IHNC South of Florida Ave Bridge to IHNC
             E                     Lock)
             r 8
             e
             t                     Linear (IHNC North of MRGO/GIWW Intersection)
             a
             W                     Linear (IHNC South of MRGO/GIWW Intersection)
             k
             a
             e 6
             P
                       Florida Avenue                   Intersection of the
                                                                                                              Lake Pontchartrain
                       Bridge                           MRGO/GIWW with the IHNC
               4



               2



               0
                0.00                    1.00                  2.00                    3.00             4.00         5.00           6.00

                                                                     Distance from IHNC Lock (miles)



                    Figure 12. High Water Mark (HWM) Profile along the IHNC.

intersection of the MRGO/GIWW and IHNC and the south side of the Florida Avenue Bridge
after which the peak water surface seems to be relatively flat. Figure 12 shows that the north

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and south peak water level lines slope from the intersection of MRGO/GIWW to Lake
Pontchartrain and to the Florida Avenue Bridge. The steepest slope is towards Lake
Pontchartrain; this would be expected since the lake was at a lower level and the IHNC Lock
was closed creating a dead end basin except for the flood wall breaches. The water surface
slopes from the intersection to the Florida Avenue Bridge and then a relatively flat surface to
the lock. The bridge was in a down position and creates a constriction in the canal.

Flood Wall Heights

In order to determine the flow of water in the IHNC basin due to the storm surge, both before
and following a failure in the east levee, it was necessary to determine the elevation of the
flood wall. Based on the as-built flood wall drawings (see Figures 13 and 14) the top of the I-
wall on the earthen levee was supposed to be constructed at 15.0 ft MSL or 14.2 NAVD 88.
This coincides with the recorded high water level.

A survey of the east flood wall was conducted on October 29, 2005, using normal level survey
techniques. It was found later that it was necessary to tie this survey to the IHNC Lock and a
supplemental survey was conducted on January 9, 2006. This latter survey was required when
the National Geodetic Survey in November 2005 withdrew the vertical reference marks used in
the high water mark survey and the survey of the flood wall heights. This withdrawal was due
to concerns by the NGS about subsidence along the Gulf Coast and particularly in the New
Orleans area. A dual-frequency GPS survey was conducted simultaneously with the normal
level survey to establish new datum reverences for these benchmarks and to tie into the
officially recognized datum marks. IPET discussed the impact of uncertainty of determining
vertical elevations in the New Orleans area and the relationship between different datum and
provided an extensive review of the issues involved in their final draft report.11

The survey provided several check points. There were two points near the Claiborne Avenue
Bridge that were surveyed twice, once from the IHNC Lock and once from the Florida Avenue
Bridge. These points were found to agree within 0.04 ft. There were also several points that
were checked with static GPS measurements. These points were in agreement to less than 0.01
ft with three exceptions near the IHNC Lock which differed by 0.23 ft, 0.11 ft and 0.15 ft. The
overall average difference between all common points was 0.01 ft.




11
     Interagency Performance Evaluation Task Force (IPET), “Geodetic Vertical and Water Level Datums,”
     Volume II of the Final Report, Performance Evaluation of the New Orleans and Southeast Louisiana
     Hurricane Protection System, March 26, 2007.

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Figure 13. East IHNC Levee As-Built Drawings Showing Section at South End of South
                                     Failure.




Figure 14. East IHNC Levee As-Built Drawings Showing Section at North End of South
                                     Failure.

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The survey results are shown in Figure 15. This survey shows that the elevation along the wall
was below the peak water level recorded at the IHNC Lock and the high water marks by as
much as 1.4 ft. A similar conclusion was reached by IPET12. There were several low
elevations along the wall with one occurring at the south failure while there were some
stretches of wall near the as-built elevations at Surekote Rd. The higher elevations occurred
where a roadway was constructed over the wall and may have provided a broader base of
support for the structures and thus prevented as much settlement. It should be noted that these
elevations were measured following the storm surges from Hurricanes Katrina and Rita and the
resulting failure of the levee; therefore, elevations are not known at the locations of the failures
due to the missing walls and the subsequent emergency protection works constructed following
the hurricane(s). This figure also shows points surveyed by the Corps of Engineers contractor
which are in close agreement.13

It will be noted that close-up analysis of the aerial photograph in Figure 10 reveals that the
south end of the levee wall was constructed with two offsets at the north and at the south end
of the breach. These are shown in Corps As-Built Drawings (see Figures 13 and 14). These
two off-sets in the wall occurred at approximately the location of the breach.

Wind Conditions in the IHNC

This report also discusses wind conditions as a force acting on the barge. The wind conditions
referenced in this report are from a meteorological reconstruction of the wind conditions in the
IHNC during the storm has been developed using hindcast methods by Ocean Weather, and are
the subject of a report in this case by Austin Dooley.14 These winds are referred to the
effective over-water 30-minute average winds at a height of 10 meters above sea level. Shorter
intervals for a 10-minute, 1-minute, and 3-second averages were also provided.

The 30-minute average values were used in the modeling of the wind effects on the water
currents generated by Hurricane Katrina and the 10-minute average values were used in
modeling the possible movements of the ING 4727 barge. The longer time period was used for
the hydrodynamic modeling to account for the effects of the wind shear and fetch.



12
     Interagency Performance Evaluation Task Force (IPET), “Performance Evaluation Status and Interim
     Results, Final Report of a Series: Performance Evaluation of the New Orleans and Southeast Louisiana
     Hurricane Protection System,” U.S. Army Corps of Engineers, June 2007, p. V-68.
13
     Interagency Performance Evaluation Task Force (IPET), “Performance Evaluation Status and Interim
     Results, Report 2 of a Series: Performance Evaluation of the New Orleans and Southeast Louisiana
     Hurricane Protection System,” U.S. Army Corps of Engineers, March 10, 2006, pp. III 39 and 40.
14
     Dooley, Austin L, Hurricane Katrina: Weather Analysis for the Inner Harbor Navigation Canal (IHNC)
     Between Florida Avenue and Claiborne Avenue, Prepared for Goodwin Procter LLP by Dooley Sea Weather
     Analysis, Inc., City Island, NY, 2009.

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                       Figure 15. East IHNC Levee Top Elevations.

MODELED WATER CURRENTS IN THE IHNC

This section of the report describes the modeling of the water currents in the IHNC and the
flows through the two breaches in the east IHNC flood wall. First, this section describes the
methodology used and, then, it discusses the various scenarios modeled. Because of the
uncertainty surrounding when either breach occurred and when the barge left the turning basin
and the uncertainty surrounding timing of water heights relative to varying wall height,
scenarios with no breaches, the north breach, and both the north and south breach were run
with different water heights. The results of the modeled water currents show that regardless of
water height, currents within the IHNC would not have moved the barge away from the dock
and into the channel at any time before either breach had occurred, or after the north breach but
before the south breach.

Model Specifics

A hydrodynamic model of the IHNC between the floodwalls from the IHNC Lock to the
Florida Avenue Bridge was developed to define the flows that could have developed under the
different conditions recorded. The mathematic modeling system used was the TABS-MD
modeling system; a modeling system commonly used by the Corps of Engineers for modeling
2-dimensional free-surface flows in rivers and estuaries (see Appendix A). The model covered
the area shown in Figure 16. The modeled depths were defined based on the navigation chart

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shown below, the 2004 Electronic Navigation Chart published by NOAA, a recent Corps of
Engineers hydrographic survey, and the surveys conducted as part of this study. The model
grid is shown in Figure 17.




               Figure 16. Navigation Chart of the IHNC Area Modeled.



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                     Figure 17. IHNC TABS Model Grid.

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To the extent that modeling involved water heights in excess of the wall crests, or through one
or more breaches, flows were computed for overtopping the floodwalls based on sharp-crested
weir flows and flow through the breaches based on broad-crested weir flow methods. Figure
18 shows an illustration of flow over a sharp-crested weir with term definitions. The flow per
length of weir is computed with the following equation15:

q = CH1.5

Where:
q = flow rate per unit length of weir,
C = 3.27 + 0.40 (H/h),
H = height of still water above the weir crest,
h = depth of water behind the weir,
Hw = height of the weir.




                        Figure 18. Definition of Sharp Crested Weir.


15
     V.T. Chow, “Open Channel Hydraulics,” McGraw Hill Book Company, New York, 1959, pp. 360-362.

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Figure 19 provides an illustration of flow over a broad-crested weir with term definitions. The
flow for this case is computed with the following equation:16




Where:
g = acceleration due to gravity constant; e.g., 32.2 ft/sec2,
y1 = total depth of water behind weir,
h = height of the weir,
H = still water height above the crest of the weir.

Since there were no measurements of the bottom elevations through the levee breaches due to
the emergency levee construction on top of the breach, elevations at the toe on the canal side of
the emergency offset levee were used as the crest of the broad-crested weir which averaged
+3.19 ft NAVD88. The top elevation of the levee I-walls were used as the elevation of the
sharp-crested weirs. These flows were summed along the wall being overtopped and the flows
through the breaches were added for those scenarios involving one or both levee failures.
These flows were used as the upper boundary condition entering through the Florida Avenue
Bridge opening. The modeled water levels were used as the boundary conditions along the
overflow and breach boundaries.




                        Figure 19. Definition of Broad Crested Weir.


16
     V.T. Chow, “Open Channel Hydraulics”, McGraw Hill Book Company, New York, 1959, pp. 52-53.

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Limitations of the model required adjustment of boundary elevations to permit correct
modeling of flow over the floodwalls and through the breaches. Therefore, although velocities
computed at the boundaries may not be precise, the flow within the IHNC and the flow rates
through the breaches and over the floodwalls is representative and accurate.

Modeling the flows entering the IHNC between the Florida Avenue Bridge and the closed
IHNC Lock is complex. A picture of this area, Figure 20, provides some understanding of the
nature of this reach of the waterway and shows the constriction created by the bridge
approaches and the flood walls and gates in this area. The Florida Avenue Bridge was in the
down position during the storm and several barges were trapped on the northern side of the
bridge as shown in Figure 20, although it is not known when these barges arrived at the bridge.
The upstream boundary was placed just north of the Florida Avenue Bridge which created a
contraction in the flow prior to entering the lower IHNC. This ensures reducing the impact of
the boundary condition as defined since the flow is redistributed when it expands on the
downstream side of the contraction. Since the water level in the higher flows was above the
adjacent land, the modeled section at the bridge was widened beyond the piers and fender
structures to the adjacent floodwalls. The contraction caused the water velocities in the
modeled flows to accelerate to high magnitudes indicating a significant head loss through the
contraction, resulting in higher water levels north of the bridge than those observed in the
lower IHNC channel, as seen in the observed high water marks.




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     Figure 20. Barges North of Florida Avenue Bridge Following Hurricane Katrina.

The results of this modeling provide a basis for understanding the flow conditions that existed
within the IHNC. It should be noted that these model results represent short-term steady-state
flow conditions. In order to make the flow patterns clear, the figures that follow are drawn
with unit vector arrows that indicate the direction of flow. The magnitude of the flow vector is
shown in color contours. The scale index is shown in each figure.

It is also possible to model the initial “dam-break” flow that would have been the initial surge
of water through the wall at the instant of and immediately after failure.17, 18 In this case, the
IHNC lockmaster’s gage did not show a change in the rate of rise until after 8:00 a.m., and
showed a net rise up until the 9:00 a.m. Prior to those times, any short term drawdown

17
     Computation of Outflow from Breached Dams, Defense Intelligence Agency, Department of Defense, B147-
     63, December 1962.
18
     Floods Resulting from Suddenly Breached Dams, Conditions of Minimum Resistance, Hydraulic Model
     Investigation, U.S. Army Engineer Waterways Experiment Station, Corps of Engineers, Vicksburg, MS,
     Miscellaneous Paper No. 2-374, Report 1, February 1960.

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probably occurred locally and probably in-between the manual hourly gage readings recorded
at the lock. Normally when a “dam” breaks and water begins to flow out, the “reservoir”
behind the dam will drawdown and the water will drain out of the reservoir until it is empty,
the reservoir inflow equals the outflow, or until the water level in the flooded area below the
dam reaches the same level as the receding water in the reservoir. This equilibrium did not
occur in the IHNC; to the contrary, the water continued to enter the IHNC at a greater rate than
was flowing out until some time after 8:00 or 9:00 a.m. The “dam-break” flow condition is
therefore not indicated for the periods prior to either breach, or for the period after the north
breach but before the south breach (except perhaps localized at the point of the breach), and
thus it was not the focus of this investigation of flow currents acting on the barge at the LNA
terminal or in the canal.19

Model Results of IHNC Inflow with No Floodwall Failures

Prior to either failure in the east levee and floodwall, flow comes into the IHNC between the
Florida Avenue Bridge and the IHNC Lock from the north through the Florida Avenue Bridge
and expands as a jet flow as it enters the basin. Flow under this condition will simply stream
into the basin and increase the water levels therein; e.g., “filling the bathtub.” This situation
was modeled between the hours of 0300 and 0600 on September 29, 2005. The flows were
computed based on the area to be filled within the modeled area and the change in water level
as measured on the staff gage at the IHNC Lock for those hourly readings. The flow rate was
considered steady over that hour. Since the water levels at 0300 hr were above the average 7-ft
level of the ground between the floodwalls, the area was taken as the area contained within the
floodwalls to the lock gates. A table of the flow rates used in these computations is shown in
Table 2.




19
     Flows through a breach in the northern portion of the east floodwall between the hours of 0500 to 0700
     would range from approximately 10kcfs to 15kcfs, respectively, based on the water levels at that time.
     Calculations using a method for estimating outflows from breached dams developed for the military
     estimated the maximum outflow to be approximately 12 kcfs.

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         Table 2. Computed Inflow Rates Early Morning 29 Sept. 2005.




Figures 21, 22, and 23 present the flows in the northern portion of the lower IHNC for water
levels of 9.2 ft, 10.2 ft and 11.2 ft, respectively.

These flows are very low and are not strong enough to move the barge away from the barges to
which it was lashed even if the lines were broken. Specifically, the velocities at the location of
the barge are approximately 0.02 ft/sec or 0.01 knots for all three of these conditions. The
velocities in this area are similar for the earlier, lower water level conditions as well. Thus,
there was no current strong enough in the vicinity of the barge to move the barge from its
initial location.

The modeling of this scenario confirms the common-sense conclusion that the water flowing
into the IHNC and rising within the channel prior to the occurrence of a breach would not
create a current that would move the barge away from the dock. The water level rose much
like a bathtub fills with water when the plug is in the drain.




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  Figure 21. Flows in IHNC with Water Levels at 9.2 ft NAVD88 and Wind at 40 mph
          from the Northeast during Basin Filling with no Floodwall Failures.




   Figure 22. Flows in IHNC with Water Levels at 10.2 ft NAVD88 and Wind at 43
    mph from the Northeast during Basin Filling and with No Floodwall Failures.

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   Figure 23. Flows in IHNC with Water Levels at 11.2 ft NAVD88 and Wind at 48
    mph from the Northeast during Basin Filling and with No Floodwall Failures


Model Results of Water Flows through the North Breach and of the IHNC Currents with
Northern Breach Floodwall Failure

Now the scenarios with floodwall failures are to be considered. Flows through a breach in the
northern portion of the east floodwall between the hours of 0400 to 0730 would range from
approximately 2 kcfs to 18 kcfs, respectively, based on the water levels at that time.

Based on the timings cited by the IPET team, the failure of the northern floodwall occurred
between 0430 and 0530. Other reports suggest that this breach could have occurred as early as
0400. Therefore, the flow at 0400 when the water level was at 9.2 ft was computed to be 8.3
kcfs and the flow pattern generated within the basin was modeled. The water level was too
low for flow over the top of the floodwalls. The flow pattern is shown in Figure 24 for the
northern portion of the IHNC. The flow entering on the east side of the channel through the
Florida Avenue Bridge turns and flows directly towards and through the north breach while
flow entering near the center of the bridge continues south and generates a large
counterclockwise eddy in the northern part of the IHNC with a very slow velocity. A
clockwise eddy is formed in the Florida Avenue Wharf Basin with flows toward the north in
the vicinity of ING 4727 having a magnitude of nearly zero speed. The flow in the IHNC
below the Florida Avenue Wharf Basin was also near zero speed. The flow entering the
northern floodwall breach increases to 4.7 ft/sec or 2.8 knots.

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 Figure 24. Modeled Flow in the Florida Avenue Wharf Basin with a Water Level of
    9.2 ft NAVD88 and Wind at 40 mph from the Northeast and with the Northern
                                Flood Wall Breach.

Because I was considering whether the northern breach could generate flows strong enough to
carry the barge out of turning basin, I computed the flow for the water level representing the
strongest currents during this period. That was the flow for a water height of 10.7 ft, at 0530.
The flow generated for this 10.7 ft condition in the basin between the Florida Avenue Bridge
and the IHNC Lock is shown in Figure 25. Again the water level was below the top of the
floodwalls, even considering the uncertainty about the wall height at various locations, and no
overflow was involved at this time. This figure shows that the flow expands after entering
through the bridge with the majority of the flow going to the levee breach in the east floodwall.
A very slow and complex eddy pattern of flow is generated within the Florida Avenue Wharf
Basin with a large clockwise eddy covering much of the basin and a smaller counter-clockwise
eddy in the southwest corner of the basin where the barge is located. The velocity magnitudes
in the vicinity of the moored empty barge vary from 0.01 to 0.02 ft/sec or 0.01 knots or less.
Again, velocities of this magnitude would not be able to move this barge against a wind
coming from the northeast at about 45 knots. This wind would move the barge to the
southwest corner of the Florida Avenue Wharf basin and with the sail area of the exposed
empty barge, would be a much stronger force than the current would generate. The flows in
the IHNC below the Florida Avenue Wharf Basin in the counterclockwise eddy increase to


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approximately 0.1 ft/sec or 0.1 knots and the flow into the northern breach increases to 5.5
ft/sec or 3.3 knots.




 Figure 25. Modeled Flow in the Florida Avenue Wharf Basin with a Water Level of
  10.7 ft NAVD88 and Wind at 54 knots from the Northeast and with the Northern
                                Flood Wall Breach.

In case the north breach occurred later, a scenario where the water level had reached 13.0 ft
NAVD88 (which likely occurred at 0730) was also modeled because it represents a situation
where a relatively strong flow moved through the northern breach. Overflow was not included
in the computation of the flow out of the IHNC basin since the overflow is a negligible
percentage of the total flow rate and does not affect the water current patterns and magnitudes.

Figure 26 illustrates this scenario. It shows the currents in the Florida Avenue Wharf Basin as
a large clockwise eddy in the basin with a smaller counter-clockwise eddy in the southwest
corner similar to the pattern in Figure 25; however, there is no counterclockwise eddy in the
northwest corner as in Figure 25. Current speed through the breach in the floodwall ranges up
to 7.3 ft/sec or 4.3 knots. At the location where the empty barge was tied up the currents are
essentially zero, i.e., the same as with no floodwall failure. The velocity vectors at the barge
are oriented towards the south in a small counter-clockwise eddy. This eddy would keep the
barge in the basin if it was to move only by the water vectors but the forces would be
essentially zero since there is negligible velocity at this location. Since the wind was coming
from the north-northeast (nearly 20 degrees) at this time, the wind would push the loose barge

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toward the southwestern corner of the basin. Both the wind and the water flow would keep the
barge in the basin with only the north breach having occurred.

The model confirms, therefore, that even after the occurrence of the north break – and
regardless of when it occurred – the water currents within the IHNC would not have drawn the
barge away from the dock and into the channel.




  Figure 26. Modeled Flow in IHNC with the Water Level at 13 ft NAVD88 and a 53
 mph Wind from the NNE with only the Northern Break in the East IHNC Floodwall.

Model Results of Flow through the Breaches and of the IHNC Currents with Both
Floodwall Failures

WST was also asked to calculate flows through the southern and northern breaches after both
breaches had occurred. In some respects, these calculations are of purely academic interest
because, if both breaches had already occurred when the barge was drawn across the canal,
then be barge could not have caused either one.

WST computed flows for scenarios at water elevations of 13.0 ft, 13.7 ft, and 14.2 ft. In part,
these water levels were chosen because physical evidence of scour trenches indicates that the
southern floodwall failed after the flood walls were overtopped on August 29, 2005. In any
event, the higher water levels would result in higher currents to test what might have affected
the barge under the conditions that morning. Figure 27 illustrates the flows in the scenario
where the water level was 13.0 ft and both the north and south floodwall failures had occurred.

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When the water was at 13.0 ft, the current speed through the north breach in the floodwall
ranged from 4.5 to 7 ft/sec or 2.6 to 4.1 knots, and current speed through the south breach
ranged from 7.0 to 9.0 ft/sec or 4.1 to 5.3 knots. Figure 28 illustrates the scenario where the
water level was 13.7 ft and both the north and south floodwall failures had occurred. When the
water was at 13.7 ft, velocities through the north breach vary from 4.0 to 5.7 ft/sec or 2.4 to 3.4
knots, and the flow through the southern floodwall breach ranged from 6 to 8.3 ft/sec or 3.5 to
4.9 knots. Finally, WST calculated a scenario for the peak recorded water level at the IHNC
Lock of 14.2 ft NAVD88, which is illustrated in Figure 29. When the water was at 14.2 feet,
the current speeds through the south breach vary from about 6 to 9 fps or 3.5 to 5.3 knots.




   Figure 27. Modeled Flow in IHNC with Water at 13.0 ft NAVD88, a 53 mph Wind
  from the NNE, Floodwall Overflows and an 815 ft South and a 210 ft. North Breach.



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   Figure 28. Modeled Flow in IHNC with Water at 13.7 ft NAVD88, a 52 mph wind
     from the North, Floodwall Overflows, and an 815 ft South and a 210 ft North
                           Breach in the East Flood Wall.




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  Figure 29. Modeled Flow in IHNC with Water at 14.2 ft NAVD88, a 48 mph Wind
    from the NNW, Floodwall Overflows, an 815 ft South Break, and a 210 ft North
                      Break in the IHNC Eastern Flood Wall.

MODELED BARGE MOVEMENTS

In addition to modeling the water flow through the breaches and the water current in the
channel, WST also modeled possible barge movement scenarios to determine the most likely
course the barge traveled from the turning basin into the Lower Ninth Ward. As expected from
the current modeling above, this model also showed that under all wind and water current
conditions applicable prior to both breaches occurring, the barge – if it came unmoored that
early – would have been pushed against the dock or into the southwest corner of the turning
basin and been trapped by the gantry at the southwest corner of the turning basin.




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Model Description

In order to model barge movement, WST used a ship/tow maneuvering model that has been
used in the past by the U.S. Army Engineers Engineering Research and Development Center
and the U.S. Coast Guard Headquarters and modified by the WST principals.20 The channel
model of the basin was developed from the RMA2 hydrodynamic model and is described by a
series of cross-sections identifying the basin edges and containing samplings of the water depth
and water current magnitude and direction. In addition, the wind is defined over the entire
basin with a constant magnitude and direction. Therefore, the wind and currents from the
hydrodynamic modeling were inserted into the data base and used as each environmental
condition was modeled.

The modeled vessel is defined with general physical characteristics, hydrodynamic coefficients
and shallow water and bank effects which are used in the computation of the hydrodynamic
forces and moments acting on the ship. The simulation numerical model is a three degree of
motion model computing the surge, sway, and yaw movement. For this case, no engine or
propulsion functions were defined as the only forces acting on the barge are the wind and
currents. This simulation model does not accurately compute any resisting forces such as
piers, docks or fendering systems and, therefore, during the tests the barge was free to move in
all directions. In reality, the barge could be pushed up against another object, e.g., another
barge or floodwall, and move along that object; however, such motion is not included in this
work. The initial movement, however, (or non-movement) of the barge under these conditions
will provide insight into the dominant force(s).

The barge model was developed from the measurements of the barge to define the areas
exposed to the wind and the water currents and the other characteristics of the barge used in the
model. The principal characteristics used include21:

        •    Length Overall = 200 ft
        •    Beam = 35 ft
        •    Height of Hull = 12 ft
        •    Draft = 1.18 ft
        •    Height of coaming = 4 ft
        •    Offset distance = 2.98 ft
        •    Hatch height = 4 ft

20
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        •   Displacement = 254.9 tons
        •   Moment of Inertia = 39,580,000

        •   Wind parameters
        •   Beam Exposed Area = 3719 sq. ft.
        •   Beam Centroid above water line = 9.34 ft.
        •   Bow/Stern Exposed Area = 611 sq. ft.
        •   Bow/Stern Centroid above water line = 9 ft.

The barge was placed in the initial position and orientation at the Lafarge terminal based on
aerial photographs of the remaining moored barges.

Modeled Barge Movement Results

WST modeled several scenarios to determine expected barge movement for each combination
of the following possible conditions that might have existed when the barge became unmoored.
Movement was modeled for a water depth of 10.7 ft with a 60 knot wind from the northeast;
for a water depth of 13.0 feet with a 70 knot wind from the north-northeast; and for a water
depth of 14.2 ft with a 64 knot wind from the north-northwest.22 Scenarios were also run with
no wind to model what current alone would have done to barge movement. These scenarios
were run with the north breach only for the 10.7 ft water level and with both breaches for the
other two water levels. WST ran scenarios assuming that all lines mooring the barge had been
released and the barge became free to move with no restraints. WST ran models with the barge
starting at several positions near the southeastern corner of the basin but the track plots are not
shown in this report since the actual starting position would be speculative. Finally WST
modeled a scenario where all but the northern most mooring had previously broken loose,
allowing the southern end of the barge to swing outward on the vector of the prevailing wind
before the final mooring came undone (this being the unmooring scenario giving the barge the
greatest potential to escape the turning basin at the earliest time).

Figures 30 through 32 show a sampling of these models. Figure 32 represents that set of
conditions which would have taken the barge out of the turning basin. This condition involved
the moorings on the south end of ING 4727 being removed and the barge swinging into the
wind with a slight overshoot when the northern moorings parted. All combinations applicable
at the times of lower water levels resulted in the ING 4727 barge moving to the southern dock
of the Florida Avenue Wharf Basin.




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     The conditions modeled to determine currents in the IHNC between the Florida Avenue Bridge and the
     IHNC Lock and described in previous sections of this report were used for modeling the barge movement
     with these conditions.

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  Figure 30. Modeled Barge Movement with the Water Level at 10.7 ft, 60 mph Wind
                    from the Northeast and a 210 ft North Breach.




 Figure 31. Modeled Barge Movement with the Water Level at 14.2 ft, 64 mph Wind
      from the North-northwest, and an 815 ft South and a 210 ft North Breach.

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 Figure 32. Modeled Barge Movement with the Water Level at 14.2 ft, 64 mph Wind
 from the North-northwest, and an 815 ft South and a 210 ft North Breach., when the
   Barge was held only by the Northern Mooring Lines and Aligned with the Wind.


CONCLUSION

The water currents within the IHNC would not have moved the barge away from the wharf
basin area prior the occurrence of the either breach. Moreover, even after the occurrence of the
north breach, the water currents within the IHNC would not have moved the barge away from
the wharf basin.

I conclude that, if freed from its mooring lines, the barge could only move from the Florida
Avenue Wharf Basin, into the main channel and eventually through the existing southern east
floodwall breach with the wind coming from the northwest and the southern floodwall failure
creating a large flow to the south and east. The wind dominates the movement of the barge
within the Florida Avenue Wharf Basin and the wind combined with the strong flow in the
main channel will move the barge to the south breach in the East IHNC flood wall.

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TABS Numerical Models


 The TABS System consists of these numerical models.
 RMA2 - A one-dimensional/two-dimensional numerical model for depth-averaged flow and
 water levels.

 RMA4 - A one-dimensional/two-dimensional numerical model for depth-
 averaged transport of one to six constituents.


 TABS MDS (RMA10) - A multi-dimensional hydrodynamic numerical model.
 SED2D - Formerly STUDH, a two-dimensional numerical model for depth-averaged
 transport of cohesive or a representative grain size of noncohesive sediments and their
 deposition, erosion, and formation of bed deposits.

 GFGEN - Geometry File GENerator - The pre-processor for the TABS software
 programs.


RMA2


  RMA2 is a two dimensional depth averaged finite element hydrodynamic numerical
  model. It computes water surface elevations and horizontal velocity components for
  subcritical, free-surface flow in two dimensional flow fields. RMA2 computes a finite
  element solution of the Reynolds form of the NavierStokes equations for turbulent
  flows. Friction is calculated with the Manning’s or Chezy equation, and eddy viscosity
  coefficients are used to define turbulence characteristics. Both steady and unsteady state
  (dynamic) problems can be analyzed

Overview

  The original RMA2 was developed by Norton, King and Orlob (1973), of Water
  Resources Engineers, for the Walla Walla District, Corps of Engineers, and delivered in
  1973. Further development, particularly of the marsh porosity option, was carried out by
  King and Roig at the University of California, Davis. Subsequent enhancements have
  been made by King and Norton, of Resource Management Associates (RMA), and by
  the Waterways Experiment Station (WE S) Hydraulics Laboratory, culminating in the
  current version of the code supported in TABS-MD.

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Applications For RMA2
 The program has been applied to calculate water levels and flow distribution around
 islands; flow at bridges having one or more relief openings, in contracting and expanding
 reaches, into and out of off-channel hydropower plants, at river junctions, and into and out
 of pumping plant channels; circulation and transport in water bodies with wetlands; and
 general water levels and flow patterns in rivers, reservoirs, and estuaries.

Capabilities Of RMA2

  RMA2 is a general purpose model designed for far-field problems in which vertical
  accelerations are negligible and velocity vectors generally point in the same direction over
  the entire depth of the water column at any instant of time. It expects a vertically
  homogeneous fluid with a free surface.
  RMA2 has these capabilities:

  •     Identify errors in the network.
  •   Accept either English or standard SI units. (Version 4.27 or higher)
  •   Restart (Hotstart) the simulation from a prior RMA2 run and continue.
  •     Simulate Wetting And Drying events. o Adjust for wetting
       and drying by element. o Account for Marsh Porosity wetting
       and drying (wetlands).
  •   Account for effects of the earth~s rotation.
  •   Apply wind stress involving frontal (storm) passages.
  •   User selectable turbulent exchange coefficients, Manning’s n-values, temperature,
      etc.
      o or user selectable equations for automatic dynamic assignment of Manning’s n-
         value by depth (Version 4.28 or higher).
      o or user selectable Peclet number for automatic dynamic assignment of turbulent
         exchange coefficients (Version 4.28 or higher).
  •   Model up to 5 different types of flow control structures.
  •     Compute flow across continuity check lines.
  •   Provides for user defined computational guidelines; such as:
      o Wet/dry parameters
      o Iteration controls
      o Revisions within a time step
  •   Accepts a wide variety of boundary conditions. o
      Angle/velocity magnitude by node o Velocity
      components by node
      o Water surface elevations by node/line o
      Discharge by node/element/line
      o Tidal radiation by line
      o Discharge as a function of elevation by line



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      o Wind speed and direction by node/element or element material type


Limitations Of RMA2
  RMA2 operates under the hydrostatic assumption, meaning accelerations in the vertical


  direction are negligible. It is two dimensional in the horizontal plane. It is not intended to be
  used for near field problems where vortices, vibrations, or vertical accelerations are of primary
  interest. Vertically stratified flow effects are beyond the capabilities of RMA2. RMA2 is a
  free-surface calculation model for subcritical flow problems. More complex flows where
  vertical variations of variables are important should be evaluated using a three dimensional
  model, such as RMA10.




  The TABS System consists of these numerical models.

  RMA2 - A one-dimensional/two-dimensional numerical model for depth-averagedflow and
  water levels.

  RMA4 - A one-dimensional/two-dimensional numerical model for depth-averaged
  transport of one to six constituents.

  TABS MDS (RMA10) - A multi-dimensional hydrodynamic numerical model.

  SED2D - Formerly STUDH, a two-dimensional numerical model for depth-averaged
  transport of cohesive or a representative grain size of noncohesive sediments and their
  deposition, erosion, and formation of bed deposits.

  GFGEN - Geometry File GENerator - The pre-processor for the TABS software
  programs.




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PRESENT POSITION:  Engineer and Principal
ORGANIZATION:      Waterway Simulation Technology, Inc.
                   2791 Burnt House Rd
                   Vicksburg, MS 39280
                   Phone: 601-638-4226
                   Fax: 601-630-9017
                   E-mail: lldaggett@wst.ms
EDUCATION:         Kansas State University, 1963, BS, Civil Engineering
                   Arizona State University, 1967, MSE, Engineering
                   Arizona State University, 1968, PhD, Engineering
REGISTRATION:      Mississippi, 1969, 04570
PROFESSIONAL SOCIETIES: American Society of Civil Engineers
                   Permanent International Association of Navigation Congresses
                   International Marine Simulator Forum
                   Society of Naval Architects and Marine Engineers
AWARDS AND HONORS: Superior Civilian Service Award, 1997
                   Mississippi Section Hydraulic Achievement Award, 1996
                   Top Ten Federal Engineers of the Year – 1993
                   Corps of Engineers Engineer of the Year – 1993
                   Meritorious Civilian Service Award – 1991
                   Directors Research and Development Achievement
                   Award, 1983

EXPERIENCE: Dr. Daggett retired from the Corps of Engineers in April 1997 and joined in
forming an engineering consulting firm, Waterway Simulation Technology, Inc (WST). WST
is a private engineering consulting company specializing in navigation studies involving port,
harbor, and channel design, systems behavior, ship and/or tow maneuvering simulations,
prototype measurements of ship and/or tow behavior, and hydrodynamic modeling.
Emphasis is on the application of navigation channel design guidance and hydraulic and
systems simulation models in the development of safe and efficient navigation channels and
the control and behavior of ships and/or tows operating in waterways.

As Chief of the Navigation Division at the Waterways Experiment Station, Dr. Daggett was
responsible for planning, accomplishing, and reporting on special studies of hydraulic
engineering problems concerning navigation channel design and environmental impacts of
navigation. This included the development of a numerical ship/tow simulator, application of
ship/tow simulators to navigation channel project designs and/or operational problems of
specific projects, application of scale physical models using remote controlled vessels to

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navigation channel project designs and/or operational problems of specific projects,
application of two-dimensional hydrodynamic models, prototype measurements of vessel
behavior in waterways, development and application of electronic navigation charts and vessel
positioning to inland waterways, application of physical modeling and field measurements to
deter-mine the physical effects of navigation traffic on the waterways environment, briefings,
lectures, and training on simulation/ physical model applications and channel design,
development of channel design criteria, analysis of high-accident rate areas on waterways, and
consulting and point of contact for Corps navigation modeling applications.

   Prior to developing the maneuvering simulation capability, Dr. Daggett was responsible for
the implementation and application of waterway system modeling including the Waterway
Analysis Model (WAM) and the Tow Capacity Model. He also designed, developed and
implemented the Lock Performance Monitoring System (PMS) now being used by the Corps.
He developed and applied lock capacity analysis techniques including methods to improve
capacity and lock operations. Dr. Daggett assisted in the development of the Inland
Navigation Systems Analysis (INSA). Dr. Daggett has been involved with the development
and application of simulation modeling to navigation problems since 1972 and physical
models since 1987. From May 1993 to February 1995, Dr. Daggett was the Acting Chief,
Waterways Division, responsible for all navigation, river engineering, flood control, and
waterway sedimentation and erosion modeling research and development.

1997-Present: Principal, Waterway Simulation Technology, Vicksburg, Mississippi

Engineering consultant performing port, harbor and navigation channel design, hydraulic
modeling, planning and design simulation modeling, and prototype data collection and
analysis.

1995-1997: Chief, Navigation Division, US Army Engineers Waterways Experiment Station,
Vicksburg, Mississippi

Lead a workforce of 10 engineers, 15 technicians and others involved in R&D directed at
improving navigation conditions in deep- and shallow-draft waterways, design of navigation
projects and identification and mitigation of environmental impacts of navigation, i.e., (a)
development of a numerical ship/tow simulator, (b) its applications to navigation channel
project designs and /or operational problems of specific projects, (c) application of scale
physical models using remote controlled vessels to navigation channel project designs and/or
operational problems of specific projects, (d) application of 2-dimensional hydrodynamic
models, conduct of experiments in a special tow effects flume, (e) development and
application of prototype measurement and analysis techniques, (f) conducted briefings,
lectures and training on simulation/physical model applications and channel design, (g)
development of channel design criteria, (h) analysis of high-accident-rate areas on waterways,
(i) and consulting and point of contract for Corps navigation modeling applications. Applied

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internal controls to manage financial expenditures and accountable property. Conducted
briefings on the status and progress of R&D programs. Ensured that direct allotted and
reimbursable programs are sufficient to fully support personnel in the division. Provided
leadership in the development and execution of research projects and programs

1993-1995: Acting Chief, Waterways Division, US Army Engineers Waterways Experiment
Station, Vicksburg, Mississippi

Lead work force of approximately 25 engineers, 17 technicians and others involved in R&D
directed at improving flood control & navigation projects. Responsible for developing
comprehensive research programs and site-specific studies in 1-, 2-, and 3-dimensional
hydrodynamic, sedimentation, and constituent numerical modeling, physical hydrodynamics
and sedimentation modeling, numerical and physical navigation modeling, and field studies.
Applied internal controls to manage financial expenditures and accountable property.
Conducted briefings on the status and progress of R&D programs. Ensured that direct allotted
and reimbursable programs are sufficient to fully support personnel in the division. Provided
leadership in the development and execution of research projects and programs.

1989-1993: Chief, Navigation Branch, US Army Engineers Waterways Experiment Station,
Vicksburg, Mississippi

Branch Chief (20-25 members) responsible for planning, accomplishing, and reporting on
special studies of hydraulic engineering problems concerning navigation channel design.
Included (a) development of a numerical ship/tow simulator, (b) its applications to navigation
channel project designs and /or operational problems of specific projects, (c) application of
scale physical models using remote controlled vessels to navigation channel project designs
and/or operational problems of specific projects, (d) application of 2-dimensional
hydrodynamic models, (e) briefings, lectures and training on simulation/physical model
applications and channel design, (f) development of channel design criteria, (g) analysis of
high-accident-rate areas on waterways, and (h) consulting and point of contact for Corps
navigation modeling applications.

1987-1989: Group Leader, Simulation Group, US Army Engineers Waterways Experiment
Station, Vicksburg, Mississippi

Leader of Simulation Group (8-13) responsible for planning, accomplishing, and reporting on
special studies of hydraulic engineering problems concerning navigation channel design: i.e.,
(a) development of a numerical ship/tow simulator, (b) application of ship/tow simulator to
navigation channel project designs and/or operational problems of specific projects, (c)
application of 2-dimensional hydrodynamic models, (d) briefings, lectures, and training on
simulation applications and channel design, (e) development of channel design criteria, (f)



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analysis of high-accident-rate areas on waterways and (g) consultant and POC for Corps’
navigation modeling applications.

1978-1987: Research Hydraulic Engineer, Math Modeling Group, US Army Engineers
Waterways Experiment Station, Vicksburg, Mississippi

Leader of a team (3-4 members) responsible for planning, accomplishing, and reporting on
special studies of hydraulic engineering and water resources systems planning problems; i.e.,
(a) development of a numerical tow maneuverability model, (b) application of 2-dimensional
hydrodynamic models, (c) development of graphics for numerical and simulation modeling,
(d) implementation and application of waterway system simulation modeling, and (e) design,
develop, and implement the lock Performance Monitoring System.

1971-1978: Research Hydraulic Engineer, Math Hydraulics Branch, US Army Engineers
Waterways Experiment Station, Vicksburg, Mississippi

Leader of a team (3-4 members) responsible for planning, accomplishing, and reporting on
special studies of hydraulic engineering and water resources systems planning problems, i.e.,
(a) develop and apply lock capacity studies including methods to improve operations, (b)
develop and apply waterway systems simulation models, (c) analyze models for application in
urban studies, (d) assist in applying models to urban studies, and (e) assist in the design of
Inland Navigation Systems Analysis.

1968-1971: Research Hydraulic Engineer, Hydraulics Division, US Army Engineers
Waterways Experiment Station, Vicksburg, Mississippi

Team Leader directing 1-2 employees responsible for planning, conducting, and reporting on
special studies of hydraulic engineering and water resource system planning problems, i.e., (a)
development of an automated model control and data acquisition and processing system, (b)
conduct a study of free surface vortex formation, and (c) development of mathematical models
of estuaries.

1964-1968: NDEA Research Fellow and Associate Faculty Member, Arizona State
University, Tempe, Arizona

Research for Ph.D. in water resource development and management. Research project
involved developing groundwater-surface water optimization model and experiments todefine
the reattachment of 2-dimensions jets in a channel. Taught two courses (Hydraulics and
Hydrology, Statics). Designed, built, and tested a hydraulic structure model. Designed
hydraulic laboratory experiments and equipment. Worked on course work and research
leading to MSE and PhD with emphasis on hydraulic/hydrologic engineering and water
resource development and management.

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1963-1964: Research Structural Engineer, National Aeronautics and Space Administration,
Edwards Air Force Base, California

Conducted research on the heated structures and methods for measuring and compensating for
the effects of heating on airplanes and spacecraft during reentry into the earth’s atmosphere.

    Dr. Daggett is the Chairman of Maritime Navigation Advisory Board for the Panama Canal
Authority, a former member of the National Academies Marine Board, and former Chairman
of the Marine Committees and the Inland Water Transport Committee (A1B01) of the
Transportation Research Board and has been active in Panel H-10, and coordination of
interagency navigation activities.

Publications:

Daggett, L.L., Hewlett, J.C., Stocks, D., Ankudinov, A., Taschereau, A., (2001). Dynamic
Squat and Under-keel Clearance of Ships in Confined Channels, 30th PIANC-AIPCN
Congress, Conference Proceedings, Sydney, Australia, September 22-26, 2002.

Daggett, L.L., Hewlett, J.C., (2001). Ship Performance Measurements Houston Ship Channel,
Galveston, Bay, Texas, Draft Report, Waterway Simulation Technology, Inc., September 10,
2001.

Daggett, L.L., Hewlett, J.C., Stocks, David, (2001). Maximization of Ship Draft in the St.
Lawrence: Volume 1, Squat Study , Fleet Technology Limited and Waterway Simulation
Technology, Inc., Transport Canada TP 13888E, December 2001.

Hewlett, J.C., Daggett, L.L., Ankudinov, V, Jakobsen, B.K., (2000). Prototype Measurement
of Ship Sinkage in Confined Water, MARSIM 2000, Conference Proceedings, May 2000
Daggett, L.L. 1998 (September). Section I: Subject 3 – U.S. Inland Navigation, A Safe
Transportation Mode, PIANC 29th International Congress, Netherlands.

Daggett, L. & Hewlett, J. (1998). Study of Ship Squat in the Panama Canal Phase II – Low
Water Conditions, Waterway Simulation Technology, Inc., June 1998

Daggett, L. & Hewlett, J. (1998). Study of Ship Squat in the Panama Canal, Waterway
Simulation Technology, Inc., March 1998.




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WST Reports

  Daggett, L. L., Hewlett, J.C., 1998 (March). “Study of Ship Sinkage in the Panama Canal.”
  Waterway Simulation Technology, Inc. Report 1, commissioned by the Panama Canal
  Commission.

  Daggett, L.L., Hewlett, J.C., 1998 (June). “Study of Ship Sinkage in the Panama Canal –
  Phase II– Low Water Conditions.” Waterway Simulation Technology, Inc. Report 2,
  commissioned by the Panama Canal Commission.

  Daggett, L.L. 1998 (September). Section I: Subject 3 – U.S. Inland Navigation, A Safe
  Transportation Mode, PIANC 29th International Congress, Netherlands.

  Daggett, L.L., Hewlett, J.C., 1999 (January). “Navigation Channel Requirements for
  Planned Strategic Improvements to the Port of New York/New Jersey, New York City.”
  Waterway Simulation Technology, Inc. Report 3, commissioned by Vickerman Zachary
  Miller, TranSystems Corporation.
  Daggett, L.L., Hewlett, J.C., 1999 (May). “Review of Entrance Channel Depth Design,
  Ambrose Channel, New York Harbor”, Waterway Simulation Technology, Inc.,
  commissioned by U.S. Army Engineer Waterways Experiment Station.

  Daggett, L.L., Hewlett, J.C., 1999 (August). “Panamax Ships Meeting in the Gaillard Cut,
  Panama Canal”, Waterway Simulation Technology, Inc., commissioned by the Panama Canal
  Commission.

  Daggett, L.L., Hewlett, J.C., 1999 (September). “A Physical Model Test Plan for
  Bendway Weir Design Criteria”, Waterway Simulation Technology, Inc., commissioned by
  U.S. Army Waterways Experiment Station.

  Daggett, L.L., 1999 (November). “Report of Findings and Opinions, Re: Polley vs.
  ACBL”, Waterway Simulation Technology, Inc., commissioned by American Commercial
  Barge Lines.

  Daggett, L.L. and Hewlett, J.C., 2000 (May). Lee Island Cement Plant Navigation
  Impact Study, Waterway Simulation Technology, Inc., May 24, 2000.

  Hewlett, J.C., Daggett, L.L., Ankudinov, V, Jakobsen, B.K., (2000). Prototype
  Measurement of Ship Sinkage in Confined Water, MARSIM 2000, Conference
  Proceedings, Orlando, FL, May 2000

  Daggett, L.L., Hewlett, J.C., Stocks, David, (2001). Maximization of Ship Draft in the St.
  Lawrence: Volume 1, Squat Study, Fleet Technology Limited and Waterway Simulation
  Technology, Inc., Transport Canada TP 13888E, December 2001.


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  Daggett, L.L., Hewlett, J.C., (2001). Ship Performance Measurements Houston Ship
  Channel, Galveston, Bay, Texas, Draft Report, Waterway Simulation Technology, Inc.,
  September 10, 2001.

  Daggett, L.L., Hewlett, J.C., Stocks, D., Ankudinov, A., Taschereau, A., (2001).
  Dynamic Squat and Under-keel Clearance of Ships in Confined Channels, 30th PIANCAIPCN
  Congress, Conference Proceedings, Sydney, Australia, September 22-26, 2002.

  Daggett, L.L.,(2002). Analysis of Selected Bendway Weir Projects, USAE
  Engineering Research and Development Center Contract Report, April 11, 2002.

  Daggett, L.L., Hewlett, J.C., (2003). Maneuverability Simulation Study for a Proposed LNG
  Terminal at Freeport, TX, Shiner, Moseley, and Associates, Inc. report, September 3,
  2003

  Daggett, L.L., Hewlett, J.C., (2003). Vessel Maneuvering Simulation Study for Sabine Pass
  LNG Terminal, Cheniere LNG report, October 1, 2003.
  Daggett, L.L., Hewlett, J.C., (2003). Vessel Maneuvering Simulation Study for Corpus
  Christi LNG Terminal, Cheniere LNG report, October 7, 2003.

  Daggett, L.L., Hewlett, J.C., (2003). Disabled Vessel Simulation Study for a Proposed LNG
  Terminal at Sabine, Louisana, Cheniere LNG report, November 12, 2003.

  Daggett, L.L., Hewlett, J.C., (2003). Maneuverability Simulation Study for a Proposed LNG
  Terminal at Freeport, TX, - Widened Entrance Channel Tests Addendum Report, Shiner,
  Moseley, and Associates, Inc. report, December 24, 2003.
  Daggett, L.L., Hewlett, J.C., (2003). Disabled Vessel Simulation Study for the
  Proposed Freeport LNG Terminal at Freeport, Louisiana, Shiner, Moseley, and
  Associates, Inc. report, December 29, 2003.
  .
  Daggett, L.L., Hewlett, J.C., (2005). Vessel Maneuvering Simulation Study for Creole
  Trail LNG Terminal, Cheniere LNG report, May 2005.

  Daggett, L.L., Hewlett, J.C., (2005). Vessel Maneuvering Simulation Study for Gulf LNG
  Terminal, Pascagoula, MS, Shiner, Mosely, and Associates, Inc. report, May 2005

  Daggett, L.L., Hewlett, J.C., (2005). Vessel Maneuvering Simulation Study for
  Bradwood Landing LNG Terminal, Bradwood, OR, Northern Star Natural Gas, Inc.
  report, October 2005.

  Daggett, L.L.(2006). Vessel Maneuvering Simulation Study for Sparrows Point LNG
  Terminal, Baltimore, MD, MITAGS Draft Report, September 26, 2006.


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   Daggett, L.L., Hewlett, J.C., (2007). Disabled LNG Tanker Simulation Study for
   Sabine Pass LNG Terminal, Cheniere Energy, Inc. Report, April 15, 2006

   Daggett, L.L., Hewlett, J.C., (2007). Sabine-Neches Waterway Entrance Channel
   Simulations, USACE Engineer Research and Development Center Contract Report,
   January 15, 2007.

   Daggett, L.L, (2007). Ship Maneuvering Simulation Studies Supporting the Proposed
   Widening of the Freeport Ship Channel Entrance and Jetty Channels, Report Prepared by
   HDR/Shiner Moseley and Associates, Inc. & Waterway Simulation Technology, Inc. for
   Freeport LNG and ConocoPhillips, February 2007 and revised May 2007.

   Daggett, L.L, (2007). Review of Ship Maneuvers Study Report, Preparatory Studies for
   the First Phase of The Port of Praia Expansion and Modernization Project, Contract no
   MCA-CV/05/INF, a Memorandum for Record Prepared for Louis Berger Group, November
   28, 2007.
    Daggett, L.L. et al. (2007). Simulated Sea Base Ship System Selective Port Access and
    Operational Performance Assessment: FY06 Project 06-06-13, PE 3.23, PECSULB MOU
    or Sub-Agreement No: S07-329206MTG, Report Prepared for Center for the Commercial
    Deployment of Transportation Technologies (CCDoTT) for FY06 Project 06-06-13, PE
    3.23, PECSULB MOU or Sub-Agreement No: S07-329206MTG, Authors: Mr. Glen Paine,
    MITAGS; Dr. Larry Daggett, WST; and Mr. Christopher Hewlett, WST, September 7, 2007.

   Review of Ship Maneuvers Study Report, Preparatory Studies for the First Phase of The
   Port of Praia Expansion and Modernization Project, Contract no MCA-C V/05/INF, a
   Memorandum for Record Prepared for Louis Berger Group, November 28, 2007.

   M/T ATHOS – Grounding/Oil Spill 26 November 2004 Delaware River – Analysis of
   Voyage Plan for Delaware Bay and River Transit, a Memorandum for Record Prepared
   for Palmer Biezup & Henderson LLP, January 9, 2009.

   Golden Pass LNG Terminal Underkeel Clearance Analysis, Report prepared for
   Maritime Institute for Marine Technology and Graduate Studies and Golden Pass LNG,
   LLP, February 1, 2009.




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 Professional Membership: American Society of Civil Engineers
                          International Navigation Association (PIANC)
                          Society of Naval Architects and Marine Engineers
                                  Member of Panel H-10
                          International Marine Simulator Forum
                          Transportation Research Board Member, Marine
                                  Board Past Chair, Inland Transport
                                  Committee
                                  Past Chair, Marine Section
                          Chairman, Maritime Navigation Advisory Board, Panama Canal
                          Commission
 Awards and Honors:

 Superior Civilian Service Award, 1997
 Mississippi Section ASCE Hydraulic Achievement Award, 1996 Top
 Ten Federal Engineers of the Year – 1993
 Corps of Engineers Engineer of the Year – 1993
 Meritorious Civilian Service Award – 1991
 Directors Research and Development Achievement Award, 1983
 Special Act Award, 1982
 Superior Performance Awards, 1969, 73, 78, 83, 86 88, 89, 91, 92, 93, 94, 95, 96




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              Waterway Simulation Technology, Inc.
 COMPANY CONTACTS

 Columbia Office:                                       Vicksburg Office:
158 Hampton Crest Trail                                      2791 Burnt House Rd.
Columbia, SC 29209                                           Vicksburg, MS 39180
TEL: 803-783-2119                                            TEL: 601-638-4226
FAX: (803) 783-8236                                          FAX: 601-630-9017
E-mail: jchewlett@wst.ms                                   E-mail: lldaggett@wst.ms
POC: Mr. Chris Hewlett                                       POC: Dr. Larry Daggett

GENERAL EXPERIENCE


 Waterway Simulation Technology, Inc. (WST) was formed as a Mississippi S-
 corporation in 1997. The Principal Investigators (PIs), Mr. Chris Hewlett and Dr. Larry
 Daggett, have nearly 80 years of combined experience in all aspects of navigation design
 studies including systems analysis simulation modeling, development and
 implementation of numerical models of ship maneuvering behavior physics and
 hydrodynamics, study design and management, database development, analysis of
 results, and reporting and presentation of study results. Also, the PIs have extensive
 experience consulting with various private and governmental organizations involved in the
 marine transportation industry including pilot organizations, state and municipal port
 authorities, major engineering consultants, the Panama Canal Commission, U.S. Army
 Engineer districts, U.S. Coast Guard offices, St. Lawrence Seaway Management
 Corporation, Canadian Transportation Development Center, and commercial shipping and
 towing companies. Dr. Daggett was responsible for writing or overseeing updating the
 Corps of Engineers’ (COE) Engineering Manuals and Regulations concerning navigation
 project hydraulic design. Because of this long experience, WST has detailed knowledge and
 ability in the management and technical application of state-of-the-art navigation study
 processes and methods. Since both PIs are former employees of the USAE Waterways
 Experiment Station (WES) in Vicksburg, Mississippi, WST possesses unsurpassed direct
 experience with numerous navigation projects across the country.




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WST CORPORATE EXPERIENCE AND CAPABILITIES


 WST is a consulting engineering firm dedicated to improving navigation safety and
 efficiency through the improvement of navigation channel design and operation. WST
 performs field measurements of ship maneuvering using highly accurate DGPS
 equipment, including measurement of vertical ship motions, e.g. ship squat. WST applies
 numerical models of current flow in harbors for independent navigation analysis or for the
 development of input to simulator systems. Also, the company performs expert witness
 services and marine accident reconstruction, investigation, analysis, which can be supported by
 field measurements and/or simulation modeling. WST performs engineering design
 studies for harbors and waterways, including the analysis of navigation conditions for
 channel design and improvements, port development, accident investigation, and operational
 policy and decisions. WST has developed a model to analyze the impacts of passing
 traffic on moored ships and tows using the same simulation models used for channel
 design purposes. Navigation environments include inland waterways and harbors, rivers, and
 coastal ports and harbors.

 WST has signed a Cooperative Research Development Agreement (CRDA) with WES to use
 their facilities during channel design studies or hydraulic research. This includes both
 physical and simulation modeling facilities. WST also has a working relation with the
 Marine Institute for Technology and Graduate Studies (MITAGS) for joint maritime studies,
 including engineering project studies and training.

 WST also is the North American agent for O’Brien Maritime Consultants, International for
 their Dynamic Under Keel Clearance (DUKC) system. This system is designed to increase
 port efficiency and safety by more accurately predicting under keel clearances for ships
 entering and leaving the port and optimizing ship loads and sailing times by using real-
 time information on tides, waves, etc. WST also has developed its own simplified method
 for computing real-time ship squat prior to and during channel transits.

 Below are projects that WST has completed or is currently involved in.

  1. Client: Seaman’s Church Institute, Center for Maritime Education, Paducah, KY
     Contact: Mr. Eric Larsson, 241 Water Street, New York, NY 1003, 212-349-
     9090,ekl76@aol.com
     Scope of Work: Developed TABS-2 finite element models for three inland river
     reaches and produce river current databases for tow-training simulator input. The three
     reaches included a section of the Mississippi River through St. Louis, a section of the
     Lower Mississippi River from Upper Philadelphia Range Light (mile 185) to Lutcher


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        Ferry Crossing (mile 141) and a section of the Ohio River through Cincinnati from
        river mile 476 to 463. WST used the TABS-2D numerical current
        model for calculation of the river currents and the state-of-the-art Surface-water
        Modeling System (SMS) was used for two-dimensional grid development. The
        current data have been used during the past year for real-time computer simulations of
        inland river tows at the Paducah, Kentucky facility.
        Status: Completed, May 1997.

     2. Client: U.S. Army Engineers District, Huntington, West Virginia.
        Contact: Mr. David A. Weekly, Chief, LRD Navigation Planning Center, 502 8th Street,
        Huntington, WV 25701-2070
        Scope of Work: Provided a quality of assurance review and certification of the Ohio
        River Navigation Investment Model (ORNIM) currently under development by
        the Oak Ridge National Laboratory. ORNIM will extend and evaluate present
        procedures for evaluating the economic feasibility of proposed inland navigation
        improvement projects, including new construction, major rehabilitation, and major
        maintenance for all 19 navigation locks on the Ohio River Main Stem.
        Status: Initial report delivered August 1, 1997. This project has been terminated by the
        USACE due to slow progress of the contractor developing ORNIM.

     3. Client: Panama Canal Commission (PCC)
        Contact: Mr. Rene VanHoorde, Panama Canal Commission, Building 910, La Boca,
        Republic of Panama
        Scope of Work: Managed and conducted a differential global positioning satellite
        (DGPS) survey of ship movement in the Panama Canal. WST designed the study to
        measure the amount of squat (sinkage and trim) experienced by ships in the canal when
        underway. Due to drought conditions the water level in Gatun Lake was inordinately
        low with anticipated further drops causing the PCC to reexamine their minimum
        underkeel allowance for transiting ships. The study had two phases. The survey for phase
        1 (joint project with WES) took place in December 1997 at a mid-
        range lake level and the survey for the second phase was completed in April 1998 with
        the water level about 4 ft lower. WST provided underkeel clearance guidance to the
        PCC based on the first phase of the study and the analysis of the second-phase data, from
        ships transiting in shallower water. Phase 1 recommendations included a reduction of the
        5-ft underkeel allowance to a 4-ft allowance with specific speed and
        maneuvering restrictions. With draft restrictions announced earlier this year, the PCC
        reduced the allowance to 4.5 ft.
        Status: Phase 1 report delivered March 20, 1998, Phase 2 draft report delivered June
        1, 1998.

4.       Client: VZM/Transystems, Inc.



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       Contact: Mr. Alan Myers, 2100 Reston Parkway, Suite 202, Reston, VA 20191
       Scope of Work: Provided consultation to VZM for their contract with the New York
       Economic Development Corporation (NYEDC). The work involved evaluation of
       harbor development plans as related to navigation issues and
       providing guidance concerning coordination of NYEDC Strategic Development Plan
       and the USACE port development process.
       Status: A report on the evaluation and recommendations for improvements to the
       navigation channels required to service the proposed improvements to the port
       facilities was delivered January 15, 1999.

5.     Client: Dr. Haruzo Eda, 4 Allan Terrace, Secaucus, NJ 08094
       Scope of Work: Developed numerical current model using the TABS-2 depth-
       averaged finite element modeling system. The work involved modeling a thirteen- mile
       section of the Mississippi River through New Orleans, Louisiana. The 2-D grid was
       developed using the SMS interactive computer system. Output data were to be used in a
       legal investigation surrounding the MVBrightfield collision incident at the River Walk in
       New Orleans on December 14, 1996.
      Status: Report was delivered on August 28, 1998.

 6.   Client: Designers and Planners, Inc.
      Contact: Dr. Vladimir Ankudenov, 2120 Washington Boulevard, Suite 200,
      Arlington, VA 22204-5717, 703-920-7070, Vankudin@DandP.com
       Scope of Work: Performed independent evaluation of the methodology and results of a
       ship vertical motion study performed by the Waterways Experiment Station for the
       USACE New York District.
      Status: Report was delivered May 25, 1999.

7.    Client: USACE Waterways Experiment Station
      Contact: Mr. Donald Wilson, 3909 Halls Ferry Rd., Vicksburg, MS 39180, 601- 634-
       2813, wilsond@ex1.wesl.army.mil
      Scope of Work: Developed a detailed physical model test program aimed at
      determining the navigation impacts of constructed bendway weirs in the inland river
      system of the US. The research work at WES was part of the Inland Navigation work
      unit.
      Status: Report was delivered September 29, 1999.

8.     Client: Panama Canal Commission (PCC)
      Contact: Capt. James Kaufman, Panama Canal Commission, Building 910, La Boca,
      Republic of Panama
      Scope of Work: Managed and conducted a differential global positioning satellite
      (DGPS) survey of ship’s meeting in the widened sections of the Panama Canal
      Gaillard Cut. WST designed the study to measure the amount of squat (sinkage and trim)
      experienced by Panamax ships in the canal when meeting in the restricted cut. Also

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        measured was the reaction of the ship in the horizontal plane (surge, sway, and yaw) to
        the bank forces and ship/ship interaction. Engine RPM’s and rudder settings
        were recorded to indicate the level of control required to maintain safe operations. The
        purpose of the study was to provide information and guidance for establishing operating
        procedures as the Panama Canal Commission plans for the start up of two- way traffic of
        Panamax sized ships in the Gaillard Cut. WST worked closely with the Canal Expansion
        Project Office in the performance of this study due to the potential application to future
        studies and channel design requirements.
        Status: A final report was provided August 20, 1999.

9.       Client: U.S. Army Navigation Data Center
        Contact: Ms. Virginia Pankow, Casey Building, Ft. Belvoir, VA, 22060-5586 Scope
        of Work: Updated the Port Series database, including photographs that describe the
        Port of Lake Charles and the facilities available at the port. Performed interviews to
        identify changes in the existing data and visited the individual docks to measure, record and
        document the port facilities.
        Status: This project has been completed.

     10. Client: American Commercial Barge Line Company Contact: Captain
         Andrew Cannava, Jr., Box 610, Jeffersonville, IN 47130
        Scope of Work: Determined the effects of tow wake and waves generated by the
        passage of a tow near an island in the Ohio River and, in particular, how waves might affect
        a person on or near the sand bar at the downstream end of the island. This was
        accomplished by making measurements of the wave conditions on the sand bar with the
        controlled passage of a particular tow configuration. The position of the towboat was
        measured against time with GPS equipment and plotted to identify where the tow was
        during the tests.
        Status: A report was provided November 11, 1999.

     11. Client: Holnam Inc.
       Contact: Mr. Joel Brannan, 16401 Swingley Ridge Road, Chesterfield, MO, 63017.
       Scope of Work: Evaluated the proposed design alternatives for harbor and/or in- river
       loading/unloading facilities and associated mooring and fleeting areas for a plant located
       near St. Genevieve, MO on the Upper Mississippi river. The impacts of various river
       stages and the proposed plant on navigation and loading and unloading
       conditions in the river were evaluated and documented in a report. The Section 10 permit
       application concluded that there is no critical impact on navigation imposed by the
       proposed facility and operation
       Status: A report was delivered May 24, 2000.

     12. Client: Lockwood, Andrews, and Newnam, Inc.



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     Contact: Mr. E. Tyson Thomas, 1500 City West Blvd, Houston, TX, 77042, 713- 266-
     6900, etthomas@lan-inc.com
     Scope of Work: Obtained a description of towing operations on the existing channel for
     Cedar Bayou up to mile 11, defined how these operations might change with proposed
     alternative channel improvements, dimensioned and designed the layout of the
     navigation channel for the preferred plan and alternatives, and assisted in presenting the
     project information to the Chambers County-Cedar Bayou Navigation District, U.S. Army
     Corps of Engineers, and congressional representatives.
     Status: Report delivered January 5, 2001.

  13. Client: Port Authority of New York and New Jersey
    Contact: Mr. Thomas Wakeman III or Edward Knoesel, One World Trade Center – 34E,
    New York, NY 10048-0682
    Scope of Work: Assisted OMC International in making arrangements for and in
    performing a desktop study and set up a demonstration of the Dynamic Under Keel
    Clearance system currently in use at many Australian ports. This study presented an
    analysis of the possible benefits of applying the DUKC system in the Ports of New York
    and New Jersey.
    Status: A final report and presentation was made on March 21, 2001.

  14. Client: U.S. Army Engineering Research and Development Center
         Contact: Mr. Dennis Webb, Coastal & Hydraulics Laboratory, 3909 Halls Ferry Rd,
    Vicksburg, MS 39180, 601-634-2455, Dennis.W.Webb@wes02.usace.army.mil
      Scope of Work: Evaluated comments and recommendations from reviewers and made
      appropriate changes to the draft Engineering Manual EM 1110-2-1613 entitled Hydraulic
      Design Guidance for Deep-Draft Navigation Projects.
      Status: This project was completed August, 2000.

  15. Client: St. Lawrence Seaway Management Corporation / Transport Canada
       Contact: Mr. Andre Taschereau, Transportation Development Center, Rene
       Levesque Blvd. W., 6th Floor, Montreal, Quebec H3B 1X9
      Scope of Work: This work was done in partnership with Fleet Technology Limited and
      Geolocation, Inc. of Canada. Vertical ship motions were measured with dual- frequency
      DGPS at four points on each of 31 ships transiting the St. Lawrence Seaway during
      October-November 2000. These data, along with special water level, hydrographic and
      current measurements were used to determine ship squat and trim in various sections of
      the seaway and to develop an accurate model of ship squat and estimate of ship under keel
      clearance.
      Status: A report was published by June 2002 as Transport Canada publication TP
      13888E.

  16. Client: U.S. Army Navigation Data Center
      Contact: Ms. Virginia Pankow, Casey Building, Ft. Belvoir, VA, 22060-5586 Scope
      of Work: Updated the Port Series database, including photographs, which describe the

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     Port of Baton Rouge project and the facilities available at the port. Perform interviews
     to identify changes in the existing data and visit the individual docks to measure, record
     and document the port facilities.
     Status: Completed in 2000.

  17. Client: U.S. Army Research and Development Center, Waterways Experiment
       Station
      Contact: Mr. Dennis Webb, Coastal and Hydraulics Laboratory, Vicksburg, MS,
      39180
      Scope of Work: This work was done as a subcontractor to Designers and Planners. The
      purpose was to measure ship transits through the old and new navigation
      channels in the Galveston Bay using high-accuracy DGPS equipment, including
      measurements of shaft rpm, rudder and water levels and velocities along the channel
      during the transits, establishing as many meeting situations with two instrumented ships
      as possible. Reported the results and documented and provideed the data in a form that
      will allow further analysis.
      Status: A report was delivered September 10, 2001.

  18. Client: U.S. Army Research and Development Center, Waterways Experiment
       Station
      Contact: Mr. Dennis Webb, Coastal and Hydraulics Laboratory, Vicksburg, MS,
      39180
      Scope of Work: WST was a partner with Seaman’s Church Institute in a navigation
      channel design study of improvements to the Sabine-Neches Waterway. This was an
      extensive ship simulation study of a 65-mile long navigation channel to determine
      the recommended dimensions and layout for deepening and widening the project.
      Status: A report was delivered July 10, 2002.

  19. Client: Society of Naval Architects and Marine Engineers (SNAME)
     Contact: Mr. Alexander Landsburg, Department of Transportation, Maritime
     Administration, Washington, DC 20590
     Scope of Work: A preliminary analysis of the ship maneuvering data will be
     undertaken to develop a method for analyzing ship maneuvering capabilities in
     restricted waterways and to prepare a research program to be funded for developing
     methods to predict the maneuvering and control characteristics of new ships entering
     navigation channels.
     Status: The study was initiated in March 2002 and is ongoing.

  20. Client: U.S. Army Research and Development Center, Waterways Experiment
      Station
     Contact: Mr. Michael Winkler, Coastal and Hydraulics Laboratory, Vicksburg, MS,
     39180



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     Scope of Work: An analysis of completed bendway weir projects was made to
     determine measures of response of the navigation channel to the presence of the weirs.
     Pre- and Post-hydrographic surveys were used to determine key channel parameters
     and a comparison was made with existing design criteria.
     Status: A report was submitted August 1, 2001.

  21. Client: Wood Tatum Sanders
      Contact: Mr. John Mercer, 1001 Southwest Fifth Ave, 13th Floor, Portland OR
     97204-1151
     Scope of Work: Evaluated testimony and documented evidence concerning a ship
     grounding incident, determined the best estimate of ship squat and under keel
     clearance, and prepared an expert opinion report. Reviewed and commented on
     opposition’s expert witness report. Prepared to give deposition and provide expert
     witness testimony at trial.
     Status: The study was completed January 2003.

  22. Client: Universe Tankships and SUNOCO
     Contact: Captain David Stanley, Manager SEQ, Universe Tankships (Delaware) LLC
     2727 Allen Parkway, Suite 760, Houston, TX. 77019
     Scope of Work: Measured the ship squat of VMAX ships transiting the Delaware
     Bay and River inbound after lightering to the SUNOCO Ft. Mifflin terminal and
     develop a squat model and predictive method for estimating ship squat and UKC.
     Status: The study was initiated in August 2002, a report was delivered December
     2002 and a briefing was given in January 2003, a UKC prediction program was
     installed on both VMAX ships in 2003.

  23. Client: Pacific International Engineering Contact: Mr. Scott Fenical, 1440
      Broadway, Suite 901, Oakland, CA 94612
     Scope of Work: Reviewed the final report prepared by Marine Safety International
     entitled Oakland Outer Harbor New Berth 21 Simulation Trials and provided
     comments, suggestions and evaluation of the study approach and results and made
     recommendations.
     Status: Completed February 2003.

  24. Client: U.S. Army Navigation Data Center
     Contact: Ms. Virginia Pankow, Casey Building, Ft. Belvoir, VA, 22060-5586 Scope
     of Work: Updated the Port Series Report No. 71 and the database, including
     photographs, which describe the Port of Memphis, TN, Port of Helena, AR, and port
     facilities along the Mississippi River between river miles 620 to 954. Performed interviews
     to identify changes in the existing data and visited the individual docks to measure, record
     and document the port facilities.
     Status: This project was completed in June 2004.



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  25. Client: U.S. Army Navigation Data Center
     Contact: Ms. Virginia Pankow, Casey Building, Ft. Belvoir, VA, 22060-5586 Scope
     of Work: Updated the Port Series Report No. 70 and the database, including photographs,
     which describe the Port of St Louis, MO, and port facilities along the
     Upper Mississippi River between river miles 0 to 300. Performed interviews to
     identify changes in the existing data and visited the individual docks to measure,
     record and document the port facilities.
     Status: This project was completed in June 2004.

  26. Client: Cheniere LNG
     Contact: Mr. Ed Lehotsky, Manager of LNG Projects, 333 Clay Street, Suite 3400
     Houston, TX 77002.
     Scope of Work: Performed a ship simulation study to determine the safety and
     efficiency of bringing LNG carriers to and from a proposed terminal designed for
     construction at Sabine, LA. Local pilots participated in the simulations by conning the
     simulated ships to approach, turn and dock the ship at the terminal and by providing
     evaluations, comments and recommendations. The results of this study were
     documented and conclusions and recommendations provided.
     Status: This project was completed and a report delivered October, 2003.

 27. Client: Cheniere LNG
     Contact: Mr. Ed Lehotsky, Manager of LNG Projects, 333 Clay Street, Suite 3400
     Houston, TX 77002.
     Scope of Work: Performed a ship simulation study to determine the safety and
     efficiency of bringing LNG carriers to and from a proposed terminal designed for
     construction in La Quinta Channel near Corpus Christi, TX. Local pilots participated
     in the simulations by conning the simulated ships in the vicinity of the terminal and by
     providing evaluations, comments and recommendations. The results
     of this study were documented and conclusions and recommendations provided.
     Status: This project was completed and a report delivered October, 2003.
 28. Client: Shiner, Mosely, and Associates, Inc.
    Contact: Capt. Thomas B. Rodino, 113 Calle Conejo, Bayview, Texas 78566
    Scope of Work: Perform a ship simulation study to determine the safety and
    efficiency of bringing LNG carriers to and from a proposed terminal designed for
    construction at Freeport, TX. Local pilots participated in the simulations by conning
    the simulated ships in the vicinity of the terminal and by providing evaluations,
    comments and recommendations. The results of this study were documented and
    conclusions and recommendations provided.
    Status: This project was completed and a report delivered September, 2003.




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  29. Client: Cheniere LNG
     Contact: Mr. Ed Lehotsky, Manager of LNG Projects, 333 Clay Street, Suite 3400
     Houston, TX 77002.
     Scope of Work: Perform a ship simulation study assess the risk of disabled traffic
     ships entering a proposed LNG terminal at Sabine, LA, and striking a docked LNG
     ship. Local pilots participated in the simulations by conning the simulated traffic ships,
     assisting in determining what mechanical failure modes, where in the channel, and under
     what conditions failures might occur that would cause an allision with the docked ship.
     The results of this study were documented and conclusions and recommendations
     provided.
     Status: This project was completed and a report delivered November 2003.

  30. Client: Shiner, Mosely, and Associates, Inc.
     Contact: Capt. Thomas B. Rodino, 113 Calle Conejo, Bayview, Texas 78566 Scope
     of Work: Perform a ship simulation study assess the risk of disabled traffic ships
     entering a proposed LNG terminal at Freeport, TX, and striking a docked LNG ship.
     Also, assess the safety and efficiency of bringing in a 250KCM LNG carrier to the
     proposed LNG terminal with a 500-ft navigation channel through the entrance and
     jetties. Local pilots participated in the simulations by conning the simulated traffic
     ships, assisting in determining what mechanical failure modes, where in the channel, and
     under what conditions failures might occur that would cause an allision
     with the docked ship. The results of this study were documented and conclusions and
     recommendations provided.
     Status: This project was completed and a report delivered December 2003.

  31. Client: U.S. Army Navigation Data Center
     Contact: Ms. Virginia Pankow, Casey Building, Ft. Belvoir, VA, 22060-5586 Scope
     of Work: Updated the Port Series Report No. 61 and the database, including photographs,
     which describe the Port of Huntington, WV, and port facilities along the Ohio River
     between river miles 316.7 to 40 and tributaries. Performed interviews to identify
     changes in the existing data and visited the individual docks to measure, record and
     document the port facilities.
     Status: The project was completed in August 2005.

  32. Client: Cheniere LNG
      Contact: Mr. Carlos Macias, Manager of Creole Trail Project, 333 Clay Street,
      Suite 3400
      Houston, TX 77002.
      Scope of Work: : Performed a ship simulation study to determine the safety and
      efficiency of bringing LNG carriers to and from a proposed terminal designed for
      construction at Cameron, LA. The study also included an assessment of the risk of


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         disabled traffic ships entering the proposed LNG terminal basin and striking a
         docked LNG ship. Local pilots participated in the simulations by conning the
         simulated LNG carriers and traffic ships, assisting in determining under what
         mechanical failure modes, where in the channel, and under what conditions failures
         might occur that would cause an allision with the docked ship.
         Status: This study was completed and a report delivered May 5, 2005.

   33. Client: Shiner, Mosely, and Associates, Inc.
      Contact: Mr. Scott Wagner, 555 N. Carancahua, Suite, Corpus Christi, TX 78478
      Scope of Work: Performed a ship simulation study to determine the safety and
      efficiency of bringing LNG carriers to and from a proposed terminal designed for
      construction at Pascagoula, MS. Local pilots participated in the simulations by
      conning the simulated ships to approach, turn and dock the ship at the terminal and by
      providing evaluations, comments and recommendations. The results of this study were
      documented and conclusions and recommendations provided.
      Status: This project was completed and a report delivered May 6, 2005.

   34. Client: Northern Star Natural Gas, LLC
      Contact: Mr. Dave Glessner, One Riverway, Suite 2053, Houston, TX 77056
      Scope of Work: Performed a ship simulation study to determine the safety and
      efficiency of bringing LNG carriers to and from a proposed terminal designed for
      construction at Bradwood, OR, on the Columbia River. Local pilots participated in the
      simulations by conning the simulated ships in the vicinity of the terminal and by
      providing evaluations, comments and recommendations. Two different types and sizes
      of LNG carriers were tested. Disabled LNG tankers and traffic ships were tested to
      determine the degree of vulnerability with which the terminal and LNG ships would be
      subjected to allisions with moored LNG ships. In addition, disabled LNG tankers were
      maneuvered with tug assist to determine if they could be safely brought to the terminal
      or anchored safely during an emergency.
      Status: This project was completed and a report delivered in September, 2005.

   35.    Client: Marine Institute of Technology and Advanced Graduate Studies
          (MITAGS)
         Contact: Mr. Glen Paine, 692 Maritime Boulevard, Linthicum, Maryland 21090,
         Main Telephone: (410) 859-5700, gpaine@mitags.org

         Scope of Work: Assist in the performance of a ship simulation study to determine the
         safety and efficiency of bringing in and out a large passenger vessel to the large cruise
         terminal in Bermuda. Local pilots participated in the simulations by conning the
         simulated ship to approach, turn and dock the ship at the terminal and by
         providing evaluations, comments and recommendations. WST evaluated the need
         for hydrographic surveys and potential dredging to accommodate this ship due to the



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      large size, draft and squat of the vessel. The results of this study were documented
      and conclusions and recommendations provided, including areas requiring new
      hydrographic surveys and potential dredging areas.
      Status: This project was completed and a report delivered in July, 2005.

   36. Client: C.R. Cushing & Co., Inc.
    Contact: Charles Cushing, 30 Vesey Street, New York, New York 10007 Scope
    of Work: Perform leveling surveys and storm surge current modeling in
    support of an investigation concerning the movement of an empty barge which broke loose
    and drifted from its moored position in New Orleans’ Inner Harbor Navigation Channel
    during storm surge caused by a hurricane in August 2005. Available water level
    elevation records were collected and compared to surveyed flood wall elevations.
    Standard leveling and GPS surveying techniques were employed. Evaluate the
    potential for a barge to break away from its moorings and move to the south breach in
    the Inner Harbor Navigation Channel East Flood Wall and under what conditions such
    an event could occur. Evaluate other studies and reports of the flooding and flood wall and
    levee failures.
    Status: This project is ongoing.

   37. Client: Cheniere LNG
    Contact: Capt.BillBaran, 717 Texas Avenue, Suite 3100, Houston, TX
    77002.
    Scope of Work: Perform additional simulation tests for disabled LNG tankers at the
    Sabine Pass LNG Terminal at Sabine, Louisiana. The simulation setup included a
    modified terminal position and a new larger ship model than tested in earlier studies. The
    primary objective was to simulate emergency dead-ship conditions approaching
    and departing the terminal berths using tug assist. Environmental conditions were the
    same as used in earlier studies.
    Status: This project was completed and a report delivered in May 2006.

   38. Client: Marine Institute of Technology and Advanced Graduate Studies
       (MITAGS)
    Contact: Mr. Glen Paine, 692 Maritime Boulevard, Linthicum, Maryland 21090,
    Main Telephone: (410) 859-5700, gpaine@mitags.org

     Scope of Work: Assist in the performance of a ship simulation study to determine the
     safety and efficiency of bringing LNG carriers in and out of the proposed Sparrows
     Point LNG Terminal. Local pilots participated in the simulations by conning the
     simulated ship to approach, turn and dock the ship at the terminal and by providing
     evaluations, comments and recommendations. WST evaluated the safety of the
     operations and the need for potential dredging to accommodate this ship due to the large
     size, draft and squat of the vessel. The results of this study were documented and
     conclusions and recommendations provided.


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     Status: This project was completed and a report delivered in October, 2006.




  39. Client: Marine Institute of Technology and Advanced Graduate Studies
        (MITAGS) and Cheniere Energy Inc.
    Contact: Mr. Glen Paine, 692 Maritime Boulevard, Linthicum, Maryland 21090, Main
    Telephone: (410) 859-5700, gpaine@mitags.org and Mr. Daniel Fuller, Cheniere
    Energy Inc., Phone: 713 375 5456 / Fax : 713 375 6456, 700 Milam Street , Suite 800
    Houston, TX 77002, dfuller@cheniere.com
    Scope of Work: Assist in the preparation and development of ship simulator data bases
    to be used in a training program for the Sabine Pilots. This training is to be conducted to
    prepare pilots to handle a range of LNG ship sizes varying from the normal LNG
    carriers of today up to 265kcm LNG carriers being designed and
    constructed for use in the near future. This training is in support of operations at
    Sabine Pass LNG terminal on the lower reaches of the Sabine River and will also result
    in the development of operational and emergency operation procedures and setting of
    operational limitations. Continuing work is being performed as new site and
    environmental information is developed. Sedimentation studies are being performed
    and WST is supporting this analysis as well. This has been a joint effort with MITAGS
    and Cheniere Energy LLP. WST has worked with Transas, the simulator developer, to
    develop methods for quickly and efficiently prepare data bases for the operational
    environment (currents and channel bathmetery) as part of the model assistance
    programs.
    Status: This project is ongoing with training expected to start in July, 2007.

  40. Client: U.S. Army Research and Development Center, Waterways Experiment
       Station
    Contact: Mr. Dennis Webb, Coastal and Hydraulics Laboratory, Vicksburg, MS,
    39180, Phone: 601-634-2455, Dennis.W.Webb@erdc.usace.army.mil
    Scope of Work: WST, with the assistance of the Seaman’s Church Institute,
    performed a follow-up investigation of the navigation channel design of
    improvements to the Sabine-Neches Waterway to determine if the outer-channel
    dimensions could be reduced from 800 ft to 700 ft wide. This was a ship simulation study
    using the simulation models from a previous study with the outer channel dimensions
    reduced.
    Status: A report was delivered January 2007.

  41. Client: Shiner, Mosely, and Associates, Inc.
    Contact: Capt. Thomas B. Rodino, 113 Calle Conejo, Bayview, Texas 78566 Scope
    of Work: Compile the results of four ship maneuvering simulation studies to document the
    widening required for Q-MAX LNG carriers to be served by the LNG


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     terminal at Freeport, TX, being constructed and to demonstrate that the proposed
     widening of 600 ft is sufficient to provide safe and efficient entry into the port. This
     report was reviewed by the sponsors and the Corps of Engineers for acceptance as a
     Corps project for maintenance.
     Status: This project was completed and a report delivered February 2007 and
     modified May 2007.

  42. Client: Center for the Commercial Deployment of Transportation Technologies
       (CCDoTT) as subcontractor with Marine Institute of Technology and Advanced
       Graduate Studies (MITAGS)
      Contact: Mr. Glen Paine, 692 Maritime Boulevard, Linthicum, Maryland 21090,
      Main Telephone: (410) 859-5700, gpaine@mitags.org and Mr. Stanley Wheatly,
      CCDoTT, mailto:swheatle@csulb.edu
          Scope of Work: Organize and plan a set of demonstrations of the application of ship
      maneuvering simulator technology to planning for logistical operations in austere
      contingency ports in countries with limited or poor access. This demonstration is
      designed to show how simulation exercises can be set up and used to determine: the
      adequacy of available ship sizes and types for the prevailing channel characteristics,
      modifications required in channels or facilities to allow desired ships to enter and
      egress safely, assist tugs required, additional aids to navigation required, limiting
      weather conditions, lightering operation feasibility, etc. The port of Mogadishu was
      chosen as the demonstration port, this port and two navy ships simulated, exercises
      executed and analyzed, and a report prepared outlining a methodology for
      accomplishing the analyses. This was all accomplished using publicly available data
      sources.
      Status: The project was completed and a report delivered September 7, 2007.

  43. Client: Louis Berger Group, Inc.
      Contact: Mr. Anatoly Hochstein, 2445 M Street, NW, 3rd Floor, Washington, DC
      20037, (202) 331-7775 X2622, mailto:ahochstein@louisberger.com
      Scope of Work: Review and comment on a ship simulation study performed for a port
      improvement project to provide guidance for the sponsor of the project in evaluating a
      proposed design.
      Status: The review was completed and a report provided November 28, 2007.

  44. Client: Marine Institute of Technology and Advanced Graduate Studies (MITAGS)
       and SeaRiver Marine
     Contact: Mr. Glen Paine, 692 Maritime Boulevard, Linthicum, Maryland 21090,
     Main Telephone: (410) 859-5700, gpaine@mitags.org and Mr. Richard Kessinger, SRM-
     EMB 4.032, P.O. Box 1512, Houston, Tx, 77251-1512, Phone: (713) 656-2464,
     richard.j.kessinger@exxonmobil.com



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    Scope of Work: Obtain and prepare channel data and compute currents to be used in a
    familiarization simulation for pilots that will be responsible for bringing in large LNG
    carriers to the new Golden Pass LNG terminal. Be present for the model validation and
    make changes as necessary. This project was later expanded to include a detailed analysis
    of under keel clearances of the design LNG ships transiting the Sabine/Neches Waterway
    to GPLNG, presentations to ship owners at simulation sessions with the local pilots, and a
    report summarizing an analysis of UKC using simulated tracklines from the pilot
    familiarization trials and identifying reaches of the waterway where channel width and
    depth must be maintained for sufficient clearance.

    Status: Data files have been delivered and the project has been completed with
    validation testing in Feburary 2008, pilot/owner sessions through October 2008, and a
    draft report submitted January 2009.

  45. Client: Palmer Biezup & Henderson LLP
     Contact: Frank DeGiulio, 956 Public Ledger Building, Independence Mall West

    Philadelphia, PA 19106-3409, Phone: (215) 625-7809, fpd@pbh.com.

    Scope of Work: To investigate the transit planning described in testimony and records
    produced for the inbound transit of the M/T ATHOS on November 26, 2004, to determine
    if the planning was adequate and to determine a more appropriate transit plan if it was
    not.

    Status: An expert witness report was delivered on January 9, 2009.




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     Other Navigation Study Experience

 WST Key Personnel Role: WST personnel managed, directed or performed these
 studies:



 Clients: U.S. Army Engineer Districts and local port authorities

    The WST principals were responsible for development of the models, facilities, study
 procedures and analyses used in all Corps of Engineers navigation channel improvement
 studies. Over 50 studies have been performed using these facilities, models and
 techniques since 1981 and have involved most of the Corps’ navigation projects; it is
 estimated that there has been an average savings of at least $4 million in most of these
 studies. Examples of these studies include:

  1. Houston Ship Channel, Texas - Ship simulation studies to refine the navigation
 channel design to minimize the dredging and project costs due to relocation of structures
 crossing the channel. A team approach was used with the ship simulator serving as a
 design tool to investigate various alternatives for safe and efficient navigation. These
 studies were a follow-up to more extensive studies managed and conducted by WST
 principals to develop the initial design for the two-phase deepening and widening project for
 the entire Houston Ship Channel and Galveston Harbor. The ship simulation studies are
 estimated to have saved over $74 million.

  2. Charleston Harbor, South Carolina – Ship simulation studies to determine the
 navigation channel dimensions and layout for the deepening and widening project for the port
 of Charleston. The project included investigating widening the channel for two-way traffic and
 turning basins as well as deepening the channel; including development of a new terminal
 facility. Studies are continuing for the South Carolina Port Authority to develop
 improvements to navigation conditions in the Drum Island Bend that is creating limitations on
 container ship transits.

  3. San Juan, Puerto Rico – Navigation studies using the ship simulator to design
 deepening and widening improvements to the San Juan Harbor channels, including the
 entrance channels and the interior channels. This study involved design of the entrance
 channel for vertical allowances for wave motions and resulted in a recommendation for a
 stepped entrance channel and reductions in channel dimensions for the interior channels. The
 study is estimated to have saved $27 million.

  4. Oakland, California – Ship simulation study to determine the navigation channel
 dimensions and layout for deepening the Oakland Outer Harbor. The study included

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 investigating widening the entrance channel for longer and deeper Panamax
 containerships, determining the widening required in the remainder of the channel and the
 size and layout of the turning basin. The study is estimated to have saved at least $7- 8
 million by avoiding relocating the BART tunnel corrosion nodes.


WST Publications and Research Papers


  Golden Pass LNG Terminal Underkeel Clearance Analysis, Report prepared for Maritime
  Institute for Marine Technology and Graduate Studies and Golden Pass LNG, LLP,
  February 1, 2009.

  M/T ATHOS – Grounding/Oil Spill 26 November 2004 Delaware River – Analysis of
  Voyage Plan for Delaware Bay and River Transit, a Memorandum for Record Prepared for
  Palmer Biezup & Henderson LLP, January 9, 2009.

 Review of Ship Maneuvers Study Report, Preparatory Studies for the First Phase of The Port
 of Praia Expansion and Modernization Project, Contract no MCA-C V/05/INF, a
 Memorandum for Record Prepared for Louis Berger Group, November 28, 2007.

 Simulated Sea Base Ship System Selective Port Access and Operational Performance
 Assessment: FY06 Project 06-06-13, PE 3.23, PECSULB MOU or Sub-Agreement No: S07-
 329206MTG, Report Prepared for Center for the Commercial Deployment of
 Transportation Technologies (CCDoTT) for FY06 Project 06-06-13, PE 3.23, PECSULB
 MOU or Sub-Agreement No: S07-329206MTG, Authors: Mr. Glen Paine, MITAGS; Dr. Larry
 Daggett, WST; and Mr. Christopher Hewlett, WST, September 7, 2007.

 Ship Maneuvering Simulation Studies Supporting the Proposed Widening of the Freeport Ship
 Channel Entrance and Jetty Channels, Report Prepared by HDR/Shiner Moseley and Associates,
 Inc. & Waterway Simulation Technology, Inc. for Freeport LNG and ConocoPhillips,
 February 2007 and revised May 2007.

 Sabine-Neches Waterway Entrance Channel Simulations, USACE Engineer Research and
 Development Center Contract Report, January 15, 2007.

 Disabled LNG Tanker Simulation Study for Sabine Pass LNG Terminal, Cheniere
 Energy, Inc. Report, April 15, 2006.

 Vessel Maneuvering Simulation Study for Sparrows Point LNG Terminal, Baltimore, MD,
 MITAGS Draft Report, September 26, 2006.



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 Vessel Maneuvering Simulation Study for Bradwood Landing LNG Terminal,
 Bradwood, OR, Northern Star Natural Gas, Inc. report, October 2005.

 Vessel Maneuvering Simulation Study for Gulf LNG Terminal, Pascagoula, MS, Shiner,
 Mosely, and Associates, Inc. report, May 2005.

 Vessel Maneuvering Simulation Study for Creole Trail LNG Terminal, Cheniere LNG
 report, May 2005.

 Disabled Vessel Simulation Study for the Proposed Freeport LNG Terminal at Freeport,
 Louisiana, Shiner, Moseley, and Associates, Inc. report, December 29, 2003.

 Maneuverability Simulation Study for a Proposed LNG Terminal at Freeport, TX, -
 Widened Entrance Channel Tests Addendum Report, Shiner, Moseley, and Associates, Inc.
 report, December 24, 2003.

 Disabled Vessel Simulation Study for a Proposed LNG Terminal at Sabine, Louisana,
 Cheniere LNG report, November 12, 2003.

 Vessel Maneuvering Simulation Study for Corpus Christi LNG Terminal, Cheniere LNG
 report, October 7, 2003.

 Vessel Maneuvering Simulation Study for Sabine Pass LNG Terminal, Cheniere LNG
 report, October 1, 2003.

 Maneuverability Simulation Study for a Proposed LNG Terminal at Freeport, TX, Shiner,
 Moseley, and Associates, Inc. report, September 3, 2003.

 Analysis of Selected Bendway Weir Projects, USACE Engineering Research And
 Development Center Contractor Report, April 11, 2002.

 Simulation Observer's Report Sabine-Neches Improvement Study Ship Simulation Study,
 USACE Engineer Research and Development Center Contract Report, May 15, 2002.

 Daggett, L.L., Hewlett, J.C., Stocks, D., Ankudinov, A., Taschereau, A., (2001).
 Dynamic Squat and Under-keel Clearance of Ships in Confined Channels, 30th PIANCAIPCN
 Congress, Conference Proceedings, Sydney, Australia, September 22-26, 2002.

 Daggett, L.L., Hewlett, J.C., (2001). Ship Performance Measurements Houston Ship
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 September 10, 2001.



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 Lawrence: Volume 1, Squat Study, Fleet Technology Limited and Waterway Simulation
 Technology, Inc., Transport Canada TP 13888E, December 2001.

 Hewlett, J.C., Daggett, L.L., Ankudinov, V, Jakobsen, B.K., (2000). Prototype
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 Proceedings, May 2000

 Daggett, L.L., Hewlett, J.C., (2000). Lee Island Cement Plant Navigation Impact Study,
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 Daggett, L.L., (1999). Report of Findings and Opinions, Waterway Simulation
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 Daggett, L.L., Hewlett, J.C., (1999). A Physical Model Test Plan for Bendway Weir
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 Daggett, L.L., Hewlett, J.C.,(1999). Panamax Ships Meeting in the Gaillard Cut, Panama
 Canal, Waterway Simulation Technology, Inc., August 1999.

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 Daggett, L. & Hewlett, J. (1998). Study of Ship Squat in the Panama Canal Phase II– Low
 Water Conditions, Waterway Simulation Technology, Inc., June 1998

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 Simulation Technology, Inc., March 1998.




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Depositions for Federal Court Cases

Oral Deposition of Larry Leon Daggett in the Case No. 980156; Rose Polley Individually & as
Administratix fro the Estates of Brittany Dawn Polley and Denny Polley vs. American
Commercial Barge Lines Co.; In the United States District Court Easter District of Kentucky at
Covington on August 31, 2000.

Oral Deposition of Larry Daggett in the Case of Civil Action No. G 06-538; Sandra King,
Darrell King and Anita Cook vs. M/V Lady Jane Too, et al; In the United States District Court
for the Southern District of Texas – Galveston on April 28, 2008.

Trial Testimony

No trial testimony




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Rate up to December 31, 2008

Review of Documents, Investigation, & Reporting                  $ 85.00/hr.
Deposition Testimony:                                            $125.00/hr.
Court Testimony:                                                 $125.00/hr.

Rates after 1 January 2009

Review of Documents, Investigation, & Reporting                  $100.00/hr.
Deposition Testimony:                                            $130.00/hr.
Court Testimony:                                                 $130.00/hr.

Plus necessary expenses as incurred.
Total amount received up to February 2009 was $89,552.38.
Invoice for March-July 2009 is $11,042.48 for a total of $100,594.86




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